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   1                      UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK
   2     - - - - - - - - - - - - - X
          UNITED STATES OF AMERICA,     :   09-CR-00466(BMC)
   3                                    :
                                        :
   4                                    :   United States Courthouse
                -against-               :   Brooklyn, New York
   5                                    :
                                        :
   6                                    :   December 17, 2018
                                        :   9:30 a.m.
   7      JOAQUIN ARCHIVALDO GUZMÁN     :
          LOERA,                        :
   8                                    :
                  Defendant.
   9     - - - - - - - - - - - - - X

  10            REDACTED TRANSCRIPT OF CRIMINAL CAUSE FOR TRIAL
                      BEFORE THE HONORABLE BRIAN M. COGAN
  11               UNITED STATES DISTRICT JUDGE, and a jury.

  12
                               A P P E A R A N C E S:
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  24

  25


                                Denise Parisi, RPR, CRR
                                   Official Court Reporter
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                                                                                                          3178


   1                                        A P P E A R A N C E S: (Continued.)

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        P r o c e e d i n g s r e c o r d e d b y c o m p u t e r i z e d s t e n o g r a p h y.   Transcript
  25    p r o d u c e d b y C o m p u t e r- a i d e d T r a n s c r i p t i o n.



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                                                  Official Court Reporter
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                         Cifuentes Villa - cross - Lichtman                       3179


   1                (In open court; jury not present.)

   2                (Defendant enters the courtroom at 9:32 a.m.)

   3                (Witness resumes the stand.)

   4                THE COURTROOM DEPUTY:            All rise.

   5                THE COURT:    Good morning.           Let's bring in the jury,

   6    please.

   7                (Jury enters.)

   8                THE COURT:    All right.          Everyone be seated.      Good

   9    morning, ladies and gentlemen.              Hope you had a good weekend.

  10    We will continue with cross-examination.

  11                Mr. Lichtman.

  12                MR. LICHTMAN:     Thank you, Your Honor.

  13    J O R G E   M I L T O N     C I F U E N T E S             V I L L A,

  14                called as a witness, having been previously

  15                sworn/affirmed, was examined and testified as

  16                follows:

  17    CROSS-EXAMINATION

  18    BY MR. LICHTMAN:     (Continued.)

  19    Q     Good morning, Mr. Cifuentes.

  20    A     Good morning.

  21    Q     Did you have a chance to speak to the Government,

  22    prosecutors, or agents since we broke for the weekend on

  23    Thursday?

  24    A     No, sir.

  25    Q     You didn't speak to them at all?


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                          Cifuentes Villa - cross - Lichtman               3180


   1               THE COURT:    Give us a minute.

   2    A     No, sir, no one.

   3    Q     When we took our break on Thursday, we were discussing

   4    your brother's murder of his boss and your friend, Don Efra.

   5               Do you recall that?

   6               THE INTERPRETER:       And your friend?

   7    BY MR. LICHTMAN:

   8    Q     When we took our break on Thursday, we were discussing

   9    your brother Fernando's murder of his boss, Don Efra.

  10               Do you recall that?

  11    A     Yes, sir.

  12    Q     And you testified that you had asked your brother as a

  13    favor not to kill Don Efra.

  14               Do you recall that?

  15    A     Yes, sir, that's correct.

  16    Q     And I asked you whether you had told the Government in

  17    the briefings that you tried to stop the murder of Don Efra by

  18    your brother, Fernando.

  19    A     Yes, sir.    I tried to persuade him.

  20    Q     And you said on Thursday that you didn't know whether you

  21    had told the Government that you tried to stop that murder.

  22               Do you recall that?

  23    A     I tried to persuade him, yes, sir.

  24    Q     I asked whether you had told the Government in the

  25    briefings when you discussed the murder of Don Efra by your


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                         Cifuentes Villa - cross - Lichtman                    3181


   1    brother, Fernando, did you tell the Government that you tried

   2    to stop this murder?

   3    A       Yes, sir, that's correct.

   4    Q       Did you, in fact, tell the Government or are you not

   5    sure?

   6    A       Yes, sir, I did tell them.

   7    Q       You are absolutely positive?

   8    A       Yes, sir, I am absolutely correct.

   9    Q       Pages 3139, lines 9 to 11, you were asked this question

  10    and --

  11                 MR. FELS:    Objection, Your Honor.

  12    Q       -- you gave this answer --

  13                 THE COURT:   What's the objection?

  14                 MR. FELS:    Improper.          He said he didn't know -- he

  15    testified that he did tell the Government.

  16                 THE COURT:   Let's have a sidebar, please.

  17                 (Sidebar.)

  18                 (Continued on the following page.)

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                                           Sidebar                             3182


   1               (Sidebar conference held on the record out of the

   2    hearing of the jury.)

   3               MR. LICHTMAN:      I'm not refreshing his recollection.

   4               THE COURT:    I know.        You're impeaching him.

   5               Come around.

   6               He's not refreshing his recollection, he's

   7    impeaching him because previously, I assume, I don't recall,

   8    but I assume he testified that he did not tell the Government

   9    that he tried --

  10               MR. LICHTMAN:      He said he wasn't sure if he did, and

  11    now he's absolutely 100 percent certain.

  12               THE COURT:    So you're trying to impeach the "I'm not

  13    sure" with the now "100 percent" --

  14               MR. LICHTMAN:      Now he's 100 percent.       He could have

  15    said "I'm not sure" or --

  16               THE COURT:    What's wrong with that?

  17               MR. FELS:    How can you impeach him?          With what?

  18               MR. LICHTMAN:      It's an inconsistent statement.

  19               THE COURT:    First he says he's not sure; now he says

  20    he's 100 percent sure.      Is that inconsistent?

  21               MR. FELS:    I'm trying to figure out what he's trying

  22    to impeach him with.     I mean, if he testified on Thursday that

  23    he wasn't sure and now he's saying that he's sure that he told

  24    the Government, what is he planning on impeaching him with?

  25               MR. LICHTMAN:      How that's an inconsistent statement.


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                                          Sidebar                          3183


   1               THE COURT:    Don't argue to each other.

   2               It seems to me, it's at least an arguably

   3    inconsistent statement.      It may not be the most important

   4    inconsistency in the world, but it's --

   5               MR. LICHTMAN:     I will take what I can get, Judge.

   6               THE COURT:    Okay.

   7               (Sidebar ends.)

   8               (Continued on next page.)

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                        Cifuentes Villa - cross - Lichtman                 3184


   1                (In open court.)

   2                MR. LICHTMAN:     Thank you, Judge.

   3    BY MR. LICHTMAN:

   4    Q     You just testified that you are a hundred percent certain

   5    that you told the Government that you tried to stop the murder

   6    of Don Efra by your brother Fernando.

   7    A     That's correct, yes, sir.

   8    Q     On Thursday, you gave this answer to this question:

   9                "Sir, I'm going to ask you again, you never told the

  10    Government that you tried to stop this murder.

  11                "Answer:   I don't know, but either way I could not

  12    stop it."

  13    A     I tried to stop it, but I wasn't able to.

  14    Q     I didn't ask you whether you tried to stop it.         I asked

  15    whether you told the Government you tried to stop it.

  16    A     Yes, sir, I did tell the Government that I tried to stop

  17    my brother from killing Don Efra, that is correct.

  18    Q     Are you suggesting that you had no control over your

  19    brother, Fernando?

  20    A     That's correct, yes, sir.

  21    Q     He did what he wanted and you couldn't stop it and you

  22    couldn't ask him to do things?

  23    A     I was not able to stop him.

  24    Q     Now, you did ask your brother to kill people, though,

  25    didn't you?


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                          Cifuentes Villa - cross - Lichtman               3185


   1    A     Yes, sir.

   2    Q     You told the Government in an October 22, 2014 briefing

   3    that you had given permission for Fernando to kill Carlos

   4    Yesid Correa in 1990, correct?

   5    A     Yes, sir, that is correct.

   6    Q     You told the prosecutor that Correa had made an insulting

   7    remark about Fernando in front of Don Efra in a meeting.

   8    A     That's correct, yes, sir.

   9    Q     And Fernando asked you if he could kill him?

  10    A     Yes, sir.

  11    Q     Now, Fernando used one of your bodyguards to find Correa,

  12    that he could kill him, correct?

  13    A     Yes, sir, that's correct.

  14    Q     And you lied to Don Efra about your knowledge and

  15    involvement in that murder, correct?

  16    A     No, sir.

  17    Q     You didn't lie about your knowledge and involvement?

  18    A     No, sir.    They never asked me.

  19    Q     Can I refresh your recollection that perhaps you did say

  20    to the Government that you had lied to Don Efra?

  21               MR. FELS:    Objection.

  22               THE COURT:    Sustained.

  23    BY MR. LICHTMAN:

  24    Q     Do you recall allowing Don Efra to blame and subsequently

  25    order the murder of a fellow named Caruso in retaliation for


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                            Cifuentes Villa - cross - Lichtman                      3186


    1   the murder of Correa?

    2   A       No, sir, you're mistaken.

    3   Q       I'm mistaken?

    4   A       Yes, sir.    Check the notes again, please.

    5   Q       I will check the notes again, perfect.             Thank you.   I

    6   will.

    7                I'm going to ask you --

    8   A       I don't need to verify anything.              You check them.

    9   Q       You said you want me to check the notes, didn't you, sir?

   10   I'm checking the notes.

   11                THE COURT:    Stop.      Stop.      Put another question to

   12   the witness, please.

   13   BY MR. LICHTMAN:

   14   Q       Do you need your recollection refreshed on whether you

   15   lied to Don Efra when you asked me to check the notes?

   16                MR. FELS:    Objection.

   17                THE COURT:    Sustained as to form.

   18   BY MR. LICHTMAN:

   19   Q       Do you need your recollection refreshed with regard to

   20   the fact that you told the Government that you lied to Don

   21   Efra --

   22                MR. FELS:    Objection.

   23   Q       -- about your involvement in that murder?

   24                THE COURT:    Mr. Lichtman, you have got to find a

   25   better way to phrase it.


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                           Cifuentes Villa - cross - Lichtman               3187


    1   BY MR. LICHTMAN:

    2   Q       Did you lie to Don Efra in connection with this murder?

    3   A       No, sir.

    4   Q       Tell me something, this fellow Caruso, he was your

    5   friend, wasn't he?

    6   A       I don't know who he is.

    7   Q       You didn't tell the Government that he was your friend?

    8   A       No, sir.

    9   Q       Tell me, after your brother killed Don Efra in 1996,

   10   Fernando was killed in response, correct?

   11   A       Yes, sir, that is correct.

   12   Q       And Don Efra's people took all of his assets; is that

   13   correct?

   14   A       Yes, sir, it is.

   15   Q       And some of his money were in accounts overseas, weren't

   16   they?

   17   A       That's correct.

   18   Q       And you were forced to pay $15 million to Don Efra's

   19   people even though you claim you had nothing to do with that

   20   murder, correct?

   21   A       That's correct.

   22   Q       And you paid that money or else your entire family would

   23   have been killed; isn't that correct?

   24   A       That's correct, yes, sir.

   25   Q       But even though you claimed that you had -- let me break


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                            Cifuentes Villa - cross - Lichtman              3188


    1   this question up.

    2                Again, you claimed you had nothing to do with the

    3   murder of Don Efra, correct?

    4   A       I was not able to stop it.

    5   Q       And even though you paid $15 million to ensure that your

    6   entire family would not be killed because your brother killed

    7   Don Efra, you, in fact, ordered the murder of a man who was

    8   involved in the murder of your brother for killing Don Efra,

    9   didn't you?

   10   A       Yes, sir, that's correct.

   11   Q       Do you remember that fellow's name that you tried to

   12   kill?

   13                THE COURT:    Mr. Lichtman, you have to let the

   14   interpreter finish translating.

   15                Go ahead.

   16   A       Henry Parra.

   17   Q       And you won't be prosecuted for that murder, will you?

   18   A       The gentleman did not die; he's alive.

   19   Q       Excuse me.    You won't be prosecuted for your ordering the

   20   murder of Henry Parra, correct?

   21   A       I don't know, sir.

   22   Q       You don't know what you pled guilty to in this case?

   23   A       Yes, sir.

   24   Q       You pled guilty to money laundering and distribution of

   25   drugs; isn't that correct?


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                           Cifuentes Villa - cross - Lichtman                   3189


    1   A      That's correct, yes, sir.

    2   Q      In two different cases, correct?

    3   A      Yes, sir, that's correct.

    4   Q      Does the ordering of Henry Parra to be killed, is that

    5   money laundering or drug distribution, if you know?

    6   A      No, sir.

    7   Q      Have you reviewed your cooperation agreement?

    8   A      Yes, sir.

    9   Q      And you're not aware that specifically it notes that you

   10   won't be prosecuted for ordering the murder of Henry Parra?

   11   A      But they increased ten points on me.

   12   Q      Okay.    Whatever that means.           I'm going to move on to the

   13   next question.

   14                  Your ex-wife -- I'm sorry.           Your ex-wife was in a

   15   relationship with a man in the mid-1990s?

   16   A      Yes, sir, that's correct.

   17   Q      You claim that this man had hit your son?

   18   A      Yes, sir, that's correct.

   19   Q      And you claim that this man was a drug trafficker like

   20   you?

   21   A      Yes, sir.

   22   Q      And you told the Government that gunman came to the house

   23   to kill him one time?

   24   A      Yes, sir, that's correct.

   25   Q      And it angered you because you believed that he put your


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                          Cifuentes Villa - cross - Lichtman                3190


    1   son in danger, correct?

    2   A     Yes, sir.

    3   Q     Tell us, how was he to prevent your son from being

    4   present when gunmen came to kill him?

    5   A     He was -- he could not.

    6   Q     But you held him responsible regardless, correct?

    7   A     Yes, sir.

    8   Q     And you asked your brother Fernando, your older brother,

    9   Fernando, to kill him, correct?

   10   A     Yes, sir.

   11   Q     The brother that you had no control over, correct?

   12   A     Yes, sir.

   13   Q     You have a little bit of control when you needed somebody

   14   killed, correct?

   15   A     Yes, sir.

   16   Q     And do you remember this fellow's name?

   17   A     I never knew his name.

   18   Q     It wasn't important to you, was it?

   19               MR. FELS:    Objection.

   20   A     No, sir.

   21               THE COURT:    Too late.

   22   BY MR. LICHTMAN:

   23   Q     The man was killed, correct?

   24   A     Yes, sir.

   25   Q     Did you try to speak to him before you killed him?


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                          Cifuentes Villa - cross - Lichtman                3191


    1   A     My son Jorge Andres' grandparents told me -- advised me

    2   not to go and speak to him because he was too dangerous.

    3   Q     He was too dangerous; that's why you didn't speak to him?

    4   A     Yes, sir.

    5   Q     But he wasn't so dangerous that you couldn't send your

    6   brother to shoot him to death, correct?

    7   A     For my brother to send some hit men to kill him.

    8   Q     So -- are you done?

    9   A     I tried first, I attempted with my bodyguards, and the

   10   individual almost killed him, so I asked a favor from my

   11   brother to send professional people to do it, and they did it.

   12   Yes, sir, I am guilty.

   13   Q     I know you're guilty, but that's not the question.          Your

   14   bodyguards were not professional?

   15   A     This gentleman, the hit man, he was more able to.

   16   Q     I asked you a question.         Your bodyguards were not

   17   professional?

   18   A     No, sir.

   19   Q     Where did you find them?          On Craigslist?

   20               MR. FELS:    Objection.

   21               THE COURT:    Sustained.

   22   BY MR. LICHTMAN:

   23   Q     You also ordered the murder of a man named Manuel Cepeda

   24   in 1993; isn't that true?

   25   A     That's correct, yes, sir.


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                            Cifuentes Villa - cross - Lichtman              3192


    1   Q       He had stolen drugs from you?

    2   A       Yes, sir.

    3   Q       But you gave him a second chance, didn't you?

    4   A       Yes, sir.

    5   Q       When he stole from you again, though, then you had him

    6   killed.

    7   A       No, sir.

    8   Q       You didn't have him killed?

    9   A       Yes, sir.

   10   Q       Why did you have him killed if you forgave him the first

   11   time?

   12   A       He did not steal from me again.

   13   Q       So you just had him killed because he didn't steal from

   14   you?

   15   A       No, sir.

   16   Q       Did you have him killed?

   17   A       Yes, sir.

   18   Q       Did you have him killed for stealing drugs from you?

   19   A       No, sir.

   20   Q       Why did you have him killed?            I'll ask again.

   21                THE COURT:    You didn't let him finish last time.

   22   Let him finish his answer.          There's a translation that has to

   23   happen.

   24   A       He took my wife's sister to Guatemala and he kept that

   25   from me, and I was being accused of having that girl with me,


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                           Cifuentes Villa - cross - Lichtman                    3193


    1   and when I asked him, he denied it, and I became angry when I

    2   found out that that was, in fact, the case, and I made the big

    3   mistake of sending people to kill him.                That is true; I killed

    4   him.

    5   Q      This was an important thing, the ordering of the murder

    6   of a man; wouldn't you agree?

    7   A      Yes, sir.

    8   Q      And you discussed this with the Government, correct?

    9   A      Yes, sir, that's correct.

   10   Q      Are you aware that all of those details that you just

   11   provided for the reasoning as to why you killed Manuel Cepeda,

   12   you never told the Government before, did you?

   13   A      I did tell the Government.

   14   Q      You're sure you told the Government?               Or maybe this time.

   15   A      Completely sure, sir.

   16   Q      A hundred percent sure.

   17               Now, you murdered the -- excuse me.               Do you know of

   18   a Juan de Dios de Dios?

   19   A      Juan de Dios Rodriguez.

   20   Q      I'm just going to call him Juan de Dios, if that's okay.

   21   A      Fine, sir.

   22   Q      He was an employee of yours in 1995?

   23   A      Yes, sir.

   24   Q      He was in charge of a warehouse in Mexico which stored

   25   cocaine that was destined for the United States, correct?


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                          Cifuentes Villa - cross - Lichtman                3194


    1   A     That's correct, yes, sir.

    2   Q     And he was important to you, A, because he was in charge

    3   of that warehouse; and B, because you used him as the face of

    4   your organization in Mexico, correct?

    5   A     That's correct, yes, sir.

    6   Q     You didn't want anyone to know that you were actually the

    7   person in charge of that operation in Mexico, correct?

    8   A     That's correct, yes, sir.

    9   Q     So that he would be out in the open with some risk --

   10   A     Yes, sir.

   11   Q     -- and you could hide and no one would know and you had

   12   no risk, correct?

   13   A     That's correct, yes, sir.

   14   Q     And at this time, you had a corrupt relationship with a

   15   Mexican attorney general named Morales Lesuca (sic) --

   16   Lechuga?

   17   A     Lechuga.

   18   Q     You had a corrupt relationship with him?

   19   A     Yes, sir, that's right.

   20   Q     And you had bribed him.

   21   A     Yes, sir, that's right.

   22   Q     And he gave you police protection so you could deal your

   23   drugs safely.

   24   A     Yes, sir, that's correct.

   25   Q     Back to Juan de Dios.


                                  Denise   Parisi   , RPR , CRR
                                   Official Court Reporter
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                         Cifuentes Villa - cross - Lichtman                 3195


    1               He stole cocaine from you?

    2   A     Yes, sir, that's right.

    3   Q     And you wanted to have him killed for that, correct?

    4   A     No, sir.

    5   Q     Were you angry at him?

    6   A     No, sir.

    7   Q     You weren't angry that he stole drugs from you?

    8   A     No, sir.

    9   Q     Were you happy that he stole drugs from you?

   10   A     Not that either, sir.

   11   Q     But before you could do anything about it, he was

   12   arrested and extradited to Colombia on unrelated charges?

   13   A     I don't understand what you are talking about.

   14   Q     He was sent to Colombia after being arrested, correct?

   15   He was extradited?

   16   A     I will tell you again your notes are mistaken.          You are

   17   speaking now about a different person.

   18   Q     You didn't tell the Government that he was sent to

   19   Colombia?

   20   A     No.   He was never arrested and he was never sent

   21   anywhere.

   22   Q     I have a question:      The notes that you're saying that I'm

   23   referring to, what notes do you think they are?

   24               MR. FELS:    Objection, Your Honor.

   25               THE COURT:    Overruled.


                                  Denise   Parisi   , RPR , CRR
                                   Official Court Reporter
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                          Cifuentes Villa - cross - Lichtman                3196


    1   A     I don't have any idea, sir, where you get your little

    2   pieces of paper from.

    3   Q     What little pieces of paper can you see that I have here?

    4   A     I don't, sir.

    5   Q     You're guessing, correct, that I have little pieces of

    6   paper here?

    7   A     No, sir.

    8   Q     You're not guessing.         So you know that I have little

    9   pieces of paper up here.

   10   A     Yes, sir.

   11   Q     They're notes of your debriefings, aren't they?

   12   A     Oh, in that case, they have some mistakes in them.          Can I

   13   clear this case for you?

   14   Q     No.

   15   A     Okay.

   16   Q     Juan de Dios, he ended up dead, didn't he?

   17   A     That's correct, yes, sir.

   18   Q     Do you find it a coincidence that someone who stole drugs

   19   from you ended up dead?

   20   A     Can you repeat the question, please?

   21   Q     Do you find it to be a coincidence that someone who stole

   22   drugs from you ended up not alive?

   23   A     No, sir.

   24   Q     Did he slip and break his neck by mistake?

   25   A     He was murdered, sir.


                                  Denise   Parisi   , RPR , CRR
                                   Official Court Reporter
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                           Cifuentes Villa - cross - Lichtman               3197


    1   Q      He was murdered by one of your people?

    2   A      Yes, sir, that's correct.

    3   Q      And you felt bad about it because you had promised to

    4   Dios's father that you would take care of him.

    5   A      That's correct, yes, sir.

    6   Q      Did you ever confront him about stealing your drugs?

    7   A      Yes, sir.

    8   Q      Did you give him a stern talking-to?

    9   A      Yes, sir, that's right.

   10   Q      And he ended up dead, and you had nothing to do with it

   11   even though your men had killed him.

   12   A      I feel responsible.     That's why I confessed it to the

   13   Government, but I did not give the order to kill him.

   14   Q      Of course you didn't.

   15               MR. FELS:    Objection, Your Honor.

   16               THE COURT:    Sustained.

   17   BY MR. LICHTMAN:

   18   Q      There was a fellow named Juan Rodriguez who worked for

   19   you?

   20   A      It is the same person that we have been talking about --

   21   Juan de Dios Rodriguez Valladares.

   22   Q      Juan Rodriguez is Flaco.

   23   A      Yes, sir, that's correct.

   24   Q      And you had a major dispute with him about him stealing

   25   the cocaine, then, correct?


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                                   Official Court Reporter
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                           Cifuentes Villa - cross - Lichtman               3198


    1   A      Yes, sir, that's correct.

    2   Q      And didn't you tell the Government that Flaco had Mexican

    3   federal police on his payroll?

    4   A      Yes, sir.    Seventy federal officers.

    5   Q      He had 70 federal officers, Mexican federal officers, on

    6   his payroll?

    7   A      Yes, sir, at his order as his service, and I paid the

    8   payroll.

    9   Q      So you paid for his 70 Mexican federales that answered to

   10   him?

   11   A      Yes, sir.    The federals did not know that they worked for

   12   me.

   13   Q      He sent those federals to kill you; isn't that true?

   14   A      That's correct, yes, sir.

   15   Q      But you turned the tables on Flaco, didn't you?

   16   A      That's correct.

   17   Q      You paid those same Mexican federal police $500,000 to

   18   bring Flaco to you, correct?

   19   A      Yes, sir, that's correct.

   20   Q      And he turned over -- and he was brought back to you in

   21   Monterrey, Mexico?

   22   A      That's correct, yes, sir.

   23   Q      And he turned over property to you to make up for the

   24   cocaine that he stole from you, correct?

   25   A      No, sir.    That's another small mistake that the notes


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                                   Official Court Reporter
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                           Cifuentes Villa - cross - Lichtman               3199


    1   have.    Can I correct it, or --

    2   Q       The notes that are based on your debriefings?

    3                 MR. FELS:    Objection, Your Honor.

    4                 THE COURT:   Sustained.

    5   BY MR. LICHTMAN:

    6   Q       You didn't order him killed, you claim.

    7   A       No, sir.   We organized our accounting and I owed money to

    8   him.    The properties that he turned over to me were the

    9   warehouses and the things that he was in charge of.

   10   Q       One of your brother's men named Lulu stabbed him to

   11   death, didn't he?

   12   A       Yes, sir, that's correct, and besides two more people

   13   that were with him.

   14   Q       So three people got stabbed to death?

   15   A       No.   Three people stabbed Juan de Dios Rodriguez.

   16   Q       Three people that worked for Fernando, your brother, who

   17   you had no control over?

   18   A       These people were working for me at this time.

   19   Q       They weren't working for Fernando?

   20   A       They were workers for Fernando.

   21   Q       And you felt bad about this because you promised his

   22   father -- Flaco's father -- on his death bed that you would

   23   take care of Flaco, correct?

   24   A       That's correct, yes, sir.

   25   Q       Does the murder of Flaco still weigh heavily on your


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                                     Official Court Reporter
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                          Cifuentes Villa - cross - Lichtman                3200


    1   conscience today?

    2   A     And every murder that I have committed, too, yes, sir.

    3   Q     Do you recall that in 2010 you had a colonel in the

    4   Colombian National Police who provided security for you?

    5   A     Yes, sir.    That's correct.

    6   Q     And you used officers from that man's unit to provide

    7   security for you, correct?

    8   A     Yes, sir, that's correct.

    9   Q     And that colonel in the Colombia National Police also had

   10   an armored car, one of the official armored cars used for your

   11   security?

   12   A     No, sir.    The car was mine.

   13   Q     The car was yours?

   14   A     Yes, sir, that's correct.

   15   Q     Can I refresh your recollection that you told the

   16   Government that it was an armored car from the national police

   17   that was used for your security?

   18               MR. FELS:    Objection, Your Honor.

   19               THE COURT:    Sustained.

   20   BY MR. LICHTMAN:

   21   Q     This colonel, the Colombian National Police, he

   22   introduced you to an officer in the Colombian Air Force,

   23   correct?

   24   A     That's correct, yes, sir.

   25   Q     And this Colombian Air Force officer offered to fly you


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                                   Official Court Reporter
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                           Cifuentes Villa - cross - Lichtman               3201


    1   on Air Force helicopters from Bogota to Villavicencio?

    2   A      No, sir.    I can clear it up if you would like.

    3   Q      Did you bribe him?

    4   A      No, sir.

    5   Q      Was it because you got arrested before you could bribe

    6   him?

    7   A      No, sir.    This was a topic that was related to mining.

    8   Q      Did you bribe the Colombian Air Force officer?

    9   A      No, sir.

   10   Q      Did you pay him any money?

   11   A      No, sir.

   12   Q      Did he offer to fly you on Air Force helicopters in

   13   relation to your mining business?

   14   A      I proposed to him that in order to transport the coal can

   15   from the Amazon jungle to the city, but it was a service that

   16   he provided, a legal service.

   17   Q      So you're saying that a Air Force officer was permitted

   18   to use Air Force helicopters to help you in your legitimate

   19   business?

   20   A      In Colombia, this is normal because the area is full of

   21   guerillas.

   22   Q      So you are saying that it's legal for a Colombian Air

   23   Force official to use official Colombian Air Force helicopters

   24   to help you in what you claim is a legitimate business?

   25   A      Yes, sir.    The contract is made with the Colombian


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                                    Official Court Reporter
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                          Cifuentes Villa - cross - Lichtman                3202


    1   Government, and the Colombian Air Force provides the service.

    2   Q      Was this mining business fueled by drug proceeds?

    3   A      No, sir.

    4   Q      Completely legitimate business?

    5   A      The mining one, yes.        It was mining with indigenous

    6   people, but all of my money is from drug trafficking.

    7   Q      So the money that you used to start up your mining

    8   business came from drug trafficking, correct?

    9   A      Yes, sir, that's correct.

   10   Q      And that mining business ended up on the OFAC list, if

   11   you recall?

   12   A      Yes, sir, that's correct.

   13   Q      And it was seized by the Colombian Government, wasn't it?

   14   A      Yes, sir, that's correct.

   15   Q      So can we agree that it was not a legitimate business?

   16   A      I don't know, sir.

   17   Q      So you think that maybe the Colombian Government made a

   18   mistake when they acted under OFAC to take that business from

   19   you?

   20   A      No.   No, sir.

   21   Q      They didn't make a mistake?

   22   A      No, sir.

   23   Q      Do you recall in 2008 you were negotiating with someone

   24   who you thought was a high-ranking airport commander in

   25   Ecuador, correct?


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                                    Official Court Reporter
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                         Cifuentes Villa - cross - Lichtman                 3203


    1   A     Yes, sir, that's correct.

    2   Q     Do you remember the man's name?

    3   A     No, sir.

    4   Q     Was it Joselito Peralta?

    5   A     Yes, sir, that's correct.

    6   Q     And you were negotiating with this man to reach a deal to

    7   allow you to use the Ecuador airport to safely move your

    8   cocaine in and out of that airport, correct?

    9   A     Yes, sir, that's correct.

   10   Q     Was that legal at the time in Ecuador?

   11   A     No, sir.

   12   Q     And you were introduced to this airport official by

   13   someone you knew as El Paisano?

   14   A     Yes, sir, that's correct.

   15   Q     Do you know El Paisano's real name?

   16   A     No, sir.

   17   Q     Now, you came to learn that, in fact, you were being

   18   defrauded by this supposed Ecuadorian airport official,

   19   correct?

   20   A     Yes, sir, that's correct.

   21   Q     He was not who he claimed to be, correct?

   22   A     Correct.

   23   Q     So you sent a picture of this man's mug shot to

   24   El Paisano?

   25   A     No, sir.


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                                   Official Court Reporter
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                           Cifuentes Villa - cross - Lichtman                   3204


    1   Q      You didn't send a picture with the man's criminal case

    2   number on it and documents with his arrest charge to help

    3   El Paisano?

    4   A      It was shown to him on the screen -- on the computer

    5   screen with his inmate name -- number.                The guy who supposedly

    6   was a colonel in -- at Quito Airport.

    7   Q      So you sent that picture to El Paisano, correct?

    8   A      To Milton Martinez who then showed it to Paisano, yes,

    9   sir.

   10   Q      Did you send that picture to Milton Martinez?

   11   A      Yes, sir, that's correct.

   12   Q      So, again, long story short, you sent the picture of the

   13   man's mug shot to El Paisano through Milton Martinez, correct?

   14   A      Yes, sir, that's correct.

   15   Q      And you did it to challenge the man's claim that he was

   16   indeed an airport official, correct?

   17   A      Yes.   Yes, sir, that's correct.

   18   Q      And you know who Raul Jiminez is, correct?

   19   A      Yes, sir.

   20   Q      He had a plane in Bogota?

   21   A      He owned a catering business that provided services at

   22   El Dorado Airport in Bogota.

   23   Q      He had experiences with planes to move drugs, didn't he?

   24   A      Yes.   With Don Joaquin, yes, sir.

   25   Q      He had a lot of experience with planes to move drugs,


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                          Cifuentes Villa - cross - Lichtman                3205


    1   correct?    I'll ask that again.

    2   A      Yes, sir, that's correct.

    3   Q      Tell me something --

    4               THE COURT:    Wait.      Wait.      Okay.     Now go.

    5   BY MR. LICHTMAN:

    6   Q      When I ask you a question, a "yes" or "no" question, do

    7   you think it helps your cause to throw in Joaquin Guzman's

    8   name at the end when I ask you a "yes" or "no" question?

    9               MR. FELS:    Objection.

   10               THE COURT:    Sustained.          Sustained.

   11               Don't answer.

   12   BY MR. LICHTMAN:

   13   Q      Now, Raul Jiminez also had DEA connections who gave him

   14   information, correct?

   15   A      Yes, sir, that's correct.

   16   Q      Which you used as well.

   17   A      No, sir.

   18   Q      You didn't use any of his DEA information?

   19   A      The mug shot of the guy -- of the guy from the airport,

   20   yes, sir.    Raul Jiminez told me that that was given to him by

   21   DEA.   I don't know whether that is true or not.

   22   Q      So, again, you used his DEA connections, correct?

   23   A      No, sir.

   24   Q      Did you use the mug shot that Jiminez claimed he got from

   25   the DEA?


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                                    Official Court Reporter
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                          Cifuentes Villa - cross - Lichtman                    3206


    1   A     Yes, sir.

    2   Q     So I will ask you for the third time.               Did you, in fact,

    3   use his DEA connections?

    4               MR. FELS:    Objection.         Asked and answered.

    5               THE COURT:    You may answer.

    6   A     No, sir.

    7   Q     Did you take the -- I will move on because we'll be here

    8   all day.

    9               El Paisano received a mug shot, if you know?

   10   A     He saw it on the screen, sir.

   11   Q     He saw it because Milton Martinez showed it to him?

   12   A     Yes, sir, that's correct.

   13   Q     And Martinez was loyal to you?

   14   A     Yes, sir, that's correct.

   15   Q     And he, in fact, introduced you to the mother of one of

   16   your children?

   17   A     No, sir.

   18   Q     You're sure about that?

   19   A     I am, sir.

   20   Q     You didn't tell the Government that?

   21   A     No, sir.

   22   Q     As a result of you sending the picture of the airport

   23   fraudster, if I can call him that, El Paisano killed him,

   24   correct?

   25   A     Yes, sir, El Paisano killed him.


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                                   Official Court Reporter
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                          Cifuentes Villa - cross - Lichtman                3207


    1   Q     And El Paisano took a video of the killing, correct?

    2   A     He tortured him, yes, sir.            And he was on audio

    3   recording, not a video.

    4   Q     Did he send it to you?

    5   A     Yes, sir, that's correct.

    6   Q     Did you listen to it?

    7   A     Yes, sir.

    8   Q     And you were responsible for that murder, weren't you?

    9   A     No, sir.

   10   Q     You don't consider yourself responsible?

   11   A     No, because --

   12   Q     Sir, this is a "yes" or "no" question.

   13               Did you feel responsible for the fact --

   14               MR. FELS:    Objection.

   15               THE COURT:    Overruled.

   16   Q     -- that El Paisano killed this fake airport official

   17   because you had sent a mug shot of him to El Paisano?

   18   A     No, sir.

   19   Q     Now, Milton Martinez described to you the reaction on

   20   El Paisano's face when he saw the mug shot of the supposed

   21   Ecuadorian airport official, correct?

   22   A     Yes, sir, that's correct.

   23   Q     And you learned that he had the look of a guilty man,

   24   correct?

   25   A     Yes, sir, that's correct.


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                                   Official Court Reporter
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                         Cifuentes Villa - cross - Lichtman                   3208


    1   Q     So you ordered the killing of El Paisano, correct?

    2   A     Yes, sir, that's correct.

    3               THE COURT:    All right.          Let's have a sidebar,

    4   please.

    5               (Sidebar.)

    6               (Continued on next page.)

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                                           Sidebar                          3209


    1              (Sidebar conference held on the record out of the

    2   hearing of the jury.)

    3               THE COURT:    I'm not getting what any of this has to

    4   do with the witness's character for truthfulness.

    5               MR. LICHTMAN:     Well, what I would say is that it was

    6   a very carefully thought out and crafted plan to have, A,

    7   which ultimately led to the death of the airport fraudster and

    8   B, the murder of El Paisano; and I'm going to describe how he

    9   tricked him into killing him, and that shows his ability to

   10   use guile to get what he wants.

   11               THE COURT:    But he's denied that he's the cause, so

   12   how are you going to --

   13               MR. LICHTMAN:     He didn't deny that he's the cause of

   14   killing El Paisano, which I'm going to get into right now.            He

   15   had just admitted that he's responsible for it.

   16               THE COURT:    I will give you a little leeway, but it

   17   seems to me we're dealing 99 percent with what a bad guy he is

   18   and one percent with what an untruthful guy he is, and it's

   19   supposed to be the other way around.

   20               MR. LICHTMAN:     Well, I think what I'm trying to do

   21   is show that he is willing to go to really great lengths with

   22   much trickery in order to have people killed that he needs

   23   killed, and the trickery --

   24               THE COURT:    What should the jury infer from that?

   25               MR. LICHTMAN:     That he is willing to do -- use


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                                           Sidebar                             3210


    1   guile, trickery, and lies in order to get what he wants.

    2               THE COURT:    Okay.      I will give you leeway on that,

    3   because that's perfectly legitimate.               I'm just not sure these

    4   questions are going there, but keep trying.

    5               MR. LICHTMAN:     Thank you, Judge.

    6               (Sidebar ends.)

    7               (Continued on next page.)

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                                    Official Court Reporter
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                          Cifuentes Villa - cross - Lichtman                3211


    1               (In open court.)

    2               MR. LICHTMAN:     May I, Judge?

    3               THE COURT:    Please.

    4   BY MR. LICHTMAN:

    5   Q     Before we took that sidebar, you had stated that you had

    6   ordered the killing of El Paisano.

    7   A     Yes, sir, that's correct.

    8   Q     And you had to use some trickery in order to kill

    9   El Paisano, correct?

   10   A     Yes, sir.

   11   Q     Because in your mind, you believe that he knew he was in

   12   trouble for putting you together with the fake airport

   13   official, correct?

   14   A     Because of the money he had stolen, yes, sir.

   15   Q     The money that was being paid to the fake Ecuadorian

   16   airport official?

   17   A     Yes, sir, that's correct.

   18   Q     And you decided that El Paisano needed to be killed.

   19   A     Yes, sir.

   20   Q     Because he was a seasoned, drug-dealing criminal,

   21   El Paisano; would you agree?

   22   A     I don't know, sir.

   23   Q     Did El Paisano work for you?

   24   A     Yes, sir.

   25   Q     And you didn't know if he was a seasoned drug dealer?


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                                    Official Court Reporter
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                          Cifuentes Villa - cross - Lichtman                3212


    1   A     No, sir.    When you say "seasoned," I don't understand the

    2   analogy.

    3   Q     Experienced.

    4   A     No, sir.

    5   Q     He was not experienced?

    6   A     No.    He was a thief.

    7   Q     Was he also a drug dealer?

    8   A     He was a thief; he stole drugs.

    9   Q     Sir, I just simply asked whether he was a drug dealer.

   10   Yes or no.

   11   A     No.    He was a thief.

   12   Q     Did he work for you?

   13   A     Yes, sir.

   14   Q     Was his official job title thief in your organization, or

   15   did he help you deal drugs?

   16   A     Neither, sir.    He was in charge of the warehouse when the

   17   cocaine arrived, and the warehouse was under his name, and

   18   there was 600 kilos of cocaine in that warehouse.

   19   Q     Okay.    I can -- can I ask the questions now?

   20   A     Please.    Please, yes, sir.

   21   Q     So he worked for you in charge of a warehouse that stored

   22   cocaine, correct?

   23   A     Yes, sir, that's correct.

   24                 (Continued on the following page.)

   25


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                                   Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3213


    1   CROSS-EXAMINATION

    2   BY MR. LICHTMAN: (Continued)

    3   Q     Cocaine that was destined to go to the United States

    4   ultimately?

    5   A     Don Joaquin's cocaine which arrived in the United States,

    6   yes, sir.

    7   Q     Again, you just threw Don Joaquin's name in there because

    8   you think it helps you, correct?

    9               MR. FELS:    Objection.

   10               THE COURT:    Sustained.    Sustained.

   11   BY MR. LICHTMAN:

   12   Q     We're talking about the murder of El Paisano, correct?

   13   A     Yes, sir.

   14   Q     Did he kill El Paisano or did you kill El Paisano?

   15   A     I did, sir.

   16   Q     So he had nothing to do with it?

   17   A     To protect his cocaine.

   18   Q     So he protected cocaine when you claim he was not a drug

   19   trafficker, correct?

   20               Withdrawn.    I'm going to move on.

   21               MR. FELS:    Your Honor, I think we should have his

   22   answer.

   23               THE COURT:    No, he asked him a yes or no question,

   24   he didn't get a yes or no, but I agree you're not going to, so

   25   move on.


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3214


    1   BY MR. LICHTMAN:

    2   Q     The warehouse -- you lured him to come to this warehouse

    3   that was in his name?

    4   A     Yes, sir, that's correct.

    5   Q     You owned the warehouse, didn't you?

    6   A     No, sir, it was rented.

    7   Q     Did you have it put in his name to protect you?

    8   A     Yes, of course.

    9   Q     And you believe that El Paisano thought that you wanted

   10   to kill him as you testified to a few moments ago.

   11   A     That's correct, yes, yes, sir.

   12   Q     But you were convincing when you lured him to that

   13   warehouse, didn't you?

   14   A     Yes, sir, I told him that Don Joaquin's cocaine was about

   15   to arrive there.

   16   Q     You lied to him, didn't you?

   17   A     Yes, sir, I did, I tricked him.

   18   Q     Again, Don Joaquin was not involved in this murder, it

   19   was just Don Jorge, correct?

   20   A     And Don Gilberto Garcia, who was who actually killed him.

   21   Q     You were also known as Don Simon, weren't you?

   22   A     Yes, sir, that's correct.

   23   Q     And that's a sign of respect "Don" before your name,

   24   correct?

   25   A     Yes, yes, sir, that's correct.


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3215


    1   Q     By the way, when El Paisano arrived at the warehouse, he

    2   was killed, correct?

    3   A     Yes, sir, that's correct.

    4   Q     On your order, correct?

    5   A     That's correct, yes, sir.

    6   Q     And as you said the nickname you gave yourself was Simon

    7   from the TV show The Saint?

    8   A     Yes, sir, that's correct.

    9   Q     And The Saint's real name in the show was Simon Templar,

   10   correct?

   11   A     Yes, sir, correct.

   12   Q     And as you testified last week, he was The Saint, the

   13   good one, correct?

   14   A     Yes, sir.

   15   Q     Just like you, the good one?

   16   A     I gave myself that name, yes, sir.

   17   Q     The good one?

   18   A     I am guilty.

   19   Q     I didn't ask you whether you were guilty, I asked you

   20   whether you were the good one?

   21               THE COURT:    Mr. Lichtman, please, a little softer.

   22               MR. LICHTMAN:    Thank you, Judge.      It's the

   23   microphone's fault.

   24               THE COURT:    No, it's not.

   25               MR. LICHTMAN:    It's not this microphone's fault, no?


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                    3216


    1   Q       You're not the good one, are you?

    2   A       No, sir, I'm not.

    3   Q       You were arrested in Colombia at one point?

    4   A       Yes, sir.

    5   Q       And when you -- do you remember when that was?

    6   A       Well, the first time in 1984.     I don't know to what day

    7   you're referring to.

    8   Q       Do you recall after you were arrested -- excuse me.         You

    9   were arrested in Colombia under the name Juan Mahecha?

   10   A       You have another little mistake there in the documents.

   11   I was arrested in Venezuela.       I was extradited to Colombia --

   12   I was expelled from Venezuela to Colombia on November 14th,

   13   2012 when I was at Picalena Prison for six months.

   14   Q       If I -- can I ask a question now?

   15   A       Yes, sir.

   16   Q       You were arrested under a fake name, weren't you?

   17   A       I'm explaining --

   18   Q       I just asked you --

   19   A       -- I'm explaining what happened to you.          No, sir, with my

   20   name.

   21   Q       Sir, sir, this is a yes or no question.          When you were

   22   arrested, you were arrested under a phony name, weren't you?

   23   A       No, sir.

   24   Q       What name were you arrested under?

   25   A       Jorge Milton Cifuentes Villa.


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3217


    1   Q     Who is Juan Jairo Mahecha?

    2   A     Jhon Jairo Mahecha Bustos.

    3   Q     Who is that?

    4   A     It's the name that I gave myself at the civil registry

    5   when I deleted my fingerprints 20 years prior.

    6   Q     At the time of your arrest in Colombia were you using the

    7   alias Juan Mahecha?

    8   A     No, sir, Mahecha, no, sir.

    9   Q     Six months after you were arrested was a notice delivered

   10   to your jail?

   11   A     Yes, sir, that's correct.

   12   Q     And the note said that you were not Jorge Cifuentes but

   13   you were in fact Juan Jairo Bustos, correct?

   14   A     Jhon Jairo Mahecha Bustos, yes, sir, that's correct.

   15   Q     That's what the message said, that you were not Cifuentes

   16   that you were in fact Juan Jairo Bustos?

   17   A     That I was Jhon Jairo Mahecha Bustos.

   18   Q     This Mahecha Bustos was an alias that you had used

   19   approximately 15 years earlier when you purchased a false

   20   identity?

   21   A     That's correct, I only used it once.

   22   Q     Well, you used it once because that passport was seized

   23   at the airport in Medellin soon after you obtained those

   24   documents?

   25   A     No, sir.    The ID, the national ID was not good.


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3218


    1   Q     It was no good?

    2   A     No, they said it was false.

    3   Q     Who said it was false, at the airport, correct?

    4   A     The desk officer, he said this is false.

    5   Q     And it was seized, correct?

    6   A     No, sir, I paid him a million pesos, which is about $500,

    7   and he returned it to me.       And he told me he was going to

    8   watch out for me when I came back so that I was not stopped.

    9   Q     The man at the airport?

   10   A     Yes, sir.    The agent for DAS, the Department for

   11   Administration and Security.

   12   Q     So you had bought a fake identity from a man from DAS?

   13   A     No, sir.

   14   Q     Anyway, you had sent a copy of this notice that you

   15   received in jail to your lawyer?

   16   A     Yes, sir.

   17   Q     And then another lawyer visited you in jail and had you

   18   sign a piece of paper asking for habeas corpus?

   19   A     Yes, sir, that's correct.

   20   Q     And you signed it with the name Juan Jairo Mahecha?

   21   A     Jhon Jairo Mahecha Bustos, yes, sir, I signed.

   22   Q     That was a lie, correct?

   23   A     That's correct, yes, sir.

   24   Q     Another fraud that you actually implemented through your

   25   attorney, correct?


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3219


    1   A     Yes, sir, that's correct.

    2   Q     Now you had an idea to launder $500 million through a

    3   phony set of companies that would purchased oil futures?

    4   A     That's correct, yes, sir.

    5   Q     And the companies had to do with oil futures, correct?

    6   A     Yes, sales, future sales, yes.

    7   Q     And that's what the idea was to sell futures, oil futures

    8   relating to the companies' use of oil, correct?

    9   A     Yes, sir, that's correct.

   10   Q     And the United Nations needed to approve this plan and a

   11   five-year review, correct?

   12   A     Yes, sir.

   13   Q     But it was never completed, correct?

   14   A     No, sir, I went to jail.

   15   Q     It was never completed, correct, sir?

   16   A     No, sir.

   17   Q     You had attorneys in California?

   18   A     Directly with some lawyers in Panama.

   19   Q     You also engaged lawyers in California?

   20   A     Yes, sir, that's correct.

   21   Q     Do you remember any of their names?

   22               MR. FELS:    Objection, Your Honor, relevance.

   23               THE COURT:    Sustained.

   24   Q     The attorneys in California would take care of the oil

   25   futures, correct?


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3220


    1   A       Of the contracts, yes, sir.

    2   Q       And the idea was that these transactions would generate

    3   commissions?

    4   A       That's correct, yes, sir.

    5   Q       Which would show up as profits?

    6   A       That's correct, yes, sir.

    7   Q       And then you would sell these profits and launder your

    8   drug proceeds, correct?

    9   A       No, sir, that's not the way it works.

   10   Q       Was there money laundering that you were hoping to do

   11   through this company?

   12   A       Yes, sir, that's correct.

   13   Q       And you told the government that you used a top

   14   California law firm, correct?

   15   A       Yes, sir.

   16   Q       And according to you, these were the most significant

   17   Jewish lawyers in California?

   18                MR. FELS:    Objection, Your Honor.

   19                THE COURT:   Sustained.

   20                All right, Mr. Lichtman, at a convenient time we'd

   21   like to take a morning break.

   22                MR. LICHTMAN:   Thank you, Judge, a couple of more --

   23                THE COURT:   Is that good or do you want some more

   24   time?

   25                MR. LICHTMAN:   Probably two more -- you mean before


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                             Cifuentes - cross - Lichtman                   3221


    1   the break?

    2                THE COURT:   We really can't wait at all, I'm afraid

    3   we have to break now.

    4                MR. LICHTMAN:   Oh, I'm sorry.      Okay.

    5                THE COURT:   Don't talk about the case, ladies and

    6   gentlemen.    See you in a minute.

    7                (Recess.)

    8                THE COURT:   Let's come back at 11 o'clock.

    9                (Recess.)

   10                THE COURTROOM DEPUTY:     All rise.

   11                THE COURT:   All right, let's have the jury back in

   12   please.    Do we have the defendant?      Yes.

   13                Mr. Lichtman, sorry about that, I didn't mean to

   14   abruptly cut off your examination --

   15                MR. LICHTMAN:   That's fine.

   16                THE COURT:   -- but we had a real emergency.

   17                MR. LICHTMAN:   I'm sorry I didn't know that.

   18                (Jury enters courtroom.)

   19                THE COURT:   All right, everyone be seated.

   20                Please continue, Mr. Lichtman.

   21                MR. LICHTMAN:   Thank you, Judge.

   22   BY MR. LICHTMAN:

   23   Q     Mr. Cifuentes, when we took our break we were discussing

   24   your 500 million-dollar climate change fund.

   25   A     Yes, sir.


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3222


    1   Q     Now you fooled everyone into thinking that you actually

    2   had the $500 million for the company, correct?

    3   A     Yes, sir.

    4   Q     You were, in fact, the only one who knew that the

    5   $500 million did not exist, correct?

    6   A     Yes, sir.

    7   Q     And as you had testified to before, you had engaged law

    8   firms in Panama and California in connection with this fund?

    9   A     Yes, sir, that's correct.

   10   Q     And you had convinced the lawyers from both of these

   11   firms that you actually had the money?

   12   A     Yes, sir, that's correct.

   13   Q     And you told these lawyers that you had the money under

   14   your desk?

   15   A     Yes, sir, that's correct.

   16   Q     And that was a lie, correct?

   17   A     Yes, sir, that's correct.

   18   Q     This was a money laundering scam, wasn't it?

   19   A     Yes, sir.

   20   Q     And in your mind it was obvious that the lawyers all knew

   21   that this was money laundering, correct?

   22   A     That's correct, yes, sir.

   23   Q     Because this had occurred in 2010?

   24   A     Yes, sir.

   25   Q     And by 2010, you were a well-known international drug


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3223


    1   trafficker, correct?

    2   A     No, sir, not yet.     But I have been a drug trafficker my

    3   entire life.

    4   Q     But you knew that -- in your mind you believed that the

    5   lawyers knew that this was money laundering?

    6   A     We spoke about money laundering, and they asked me where

    7   do you have the money --

    8   Q     Sir, there is no question before you.

    9   A     -- and they insisted so much that I said, I have it down

   10   here under me.

   11               THE COURT:    All right.    Let me tell the witness, if

   12   it's possible to answer his question yes or no that you should

   13   do that.    If you're not comfortable doing that, just tell him

   14   you're not comfortable answering that question yes or no.

   15               THE WITNESS:    Thank you very much.

   16               THE COURT:    Okay.

   17   BY MR. LICHTMAN:

   18   Q     Now, sir, you claim that you told these California

   19   lawyers that this was money laundering?

   20   A     Yes, sir, that's correct, to the Panama lawyers.

   21   Q     You don't know the names of these lawyers, do you?

   22   A     No, sir.

   23   Q     So you couldn't tell the government the names of the

   24   lawyers who were responsible for laundering money, correct?

   25               So that's a yes or no question.        You couldn't tell


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                             Cifuentes - cross - Lichtman                   3224


    1   the government the names of the lawyers who were involved in

    2   money laundering with you, could you?

    3   A     Yes, half of them.

    4   Q     Did you tell -- did you know the names of the California

    5   lawyers?

    6   A     No, sir.

    7   Q     So you couldn't tell the government their names, correct?

    8   A     That's correct, yes, sir.

    9   Q     And yet you claim they openly were willing to launder

   10   drug proceeds for you?

   11   A     Yes, sir.

   12   Q     Do you find it convenient that you can't tell the

   13   government the names of these lawyers that you spoke to

   14   numerous times about money laundering?

   15   A     I never spoke to the California lawyers.           I spoke to the

   16   Panamanian ones.

   17   Q     Did you know the name of the lawyers at one point, the

   18   California lawyers?

   19   A     No, sir.

   20   Q     You told -- didn't, in fact, you tell the government that

   21   these lawyers were from Los Angeles and were very high

   22   powered?

   23   A     That's what Rafael told me.

   24   Q     That they were the most important Jewish lawyers in

   25   California?


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3225


    1               MR. FELS:    Objection, Your Honor.

    2               THE COURT:    Sustained.

    3   BY MR. LICHTMAN:

    4   Q     Are you planning on using those powerful California

    5   lawyers when you get out of jail?

    6   A     No, sir.

    7   Q     You claim that you told the government the names of the

    8   Panamanian lawyers that were going to help you launder money?

    9   A     Yes, sir, that's correct.

   10   Q     You know those lawyers haven't been arrested, don't you?

   11               MR. FELS:    Objection, Your Honor.

   12               THE COURT:    Sustained.

   13   BY MR. LICHTMAN:

   14   Q     Now this 500 million-dollar climate change fund, was this

   15   the company that you described at the beginning of your direct

   16   examination?

   17   A     Yes, sir.

   18   Q     This was one of your legitimate businesses that the

   19   government asked you about?

   20   A     Yes, sir, that's correct.

   21   Q     Between 1993 and 1997, when you were starting, when you

   22   were 27 years old, you invested $5 million of drug proceeds to

   23   exploit a mine?

   24   A     Yes, sir, $5 million.

   25   Q     And the main purpose of this was having armed guards from


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3226


    1   the mine as your personal security when you were in Boyaca,

    2   Colombia?

    3   A     Yes, sir, that's correct.

    4   Q     And you were in Boyaca to deal drugs, correct?

    5   A     No, sir, there's no drugs there.

    6   Q     The armed guards that you wished to have because of this

    7   mining company received concealed carry permits from the

    8   Colombian government, correct?

    9   A     Can you repeat the question, please.

   10   Q     The armed guards that you -- the armed guards that you

   11   needed for this business, received concealed carry permits

   12   from the Colombian government, correct?

   13   A     They did receive a permit to carry arms but not

   14   concealed, visible.

   15   Q     You don't recall telling the government that the armed

   16   guards received concealed carry permits from the Colombian

   17   government under the pretext that they were guarding the mine?

   18   A     For the security of the officers at the mine.

   19   Q     A common practice was to use these mines to launder drug

   20   proceeds in Boyaca, correct?

   21   A     That's correct, sir.

   22   Q     And emeralds' values are subjective to the person who's

   23   actually viewing the emeralds, correct?

   24   A     Yes, sir, that's correct.

   25   Q     And a common practice was to pay a minimal amount of


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                    3227


    1   money for the land and then pay off a gemologist to certify

    2   that the land had the potential to yield gems?

    3   A     That's correct, yes, sir.

    4   Q     So you bribed a certified gemologist to claim that the

    5   land had potential to yield gems if in fact it was exploited?

    6   A     No, sir.

    7   Q     You didn't tell the government that a common practice --

    8   excuse me.    You didn't tell the government that you bribed a

    9   certified gemologist to claim that the land had potential to

   10   yield gems if the land was mined?

   11   A     No, sir.

   12   Q     Are you sure or are you not sure?

   13                MR. FELS:    Objection, Your Honor.     May we have a

   14   sidebar, please.

   15                THE COURT:   No sidebar.    The objection is sustained.

   16   BY MR. LICHTMAN:

   17   Q     Emeralds are frequently treated with palm oil to hide

   18   imperfections and raise their value, correct?

   19   A     That's part of the system of how the emerald business

   20   works.

   21   Q     You recall telling the government that even if the mine

   22   produces no emeralds, stolen emeralds can be purchased on the

   23   black market and exported for more than their value?

   24   A     No, sir.

   25   Q     Do you recall telling the government that drug proceeds


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                             Cifuentes - cross - Lichtman                    3228


    1   can then be wired back to Boyaca without law enforcement

    2   noticing?

    3   A     I don't understand.     I don't know what you're talking

    4   about.

    5   Q     Do you recall telling the government that drug proceeds

    6   can be wired back to Boyaca without law enforcement noticing?

    7   A     It's possible.

    8   Q     Do you recall telling --

    9   A     I mean --

   10   Q     -- the government that you attempted to launder drug

   11   proceeds through the export of emeralds from the mine but were

   12   unsuccessful?

   13   A     No, sir.

   14   Q     You didn't tell the government that, you're certain?

   15   A     It is another misinterpretation, sir.         May I explain?

   16   Q     No.

   17   A     Okay.

   18   Q     This was your legitimate mine business?

   19   A     No, it wasn't mine.

   20   Q     Were you involved in it?

   21   A     I invested $5 million, yes, sir.

   22   Q     So it wasn't yours even though you invested $5 million in

   23   it?

   24   A     That's how emeralds work.      May I explain --

   25   Q     So you had no ownership at all in this?


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3229


    1   A     No, not at all.

    2   Q     The $5 million that you invested in it that apparently

    3   wasn't yours, was that drug proceeds?

    4   A     Yes, sir.    That's correct.

    5   Q     In fact, you told the government once that everything

    6   I've breathed and eaten in my life is from drug trafficking?

    7   A     Yes, sir, that's correct.

    8   Q     In July of 2010, you received a visit from a lawyer who

    9   claimed that your name had been circulated in United States

   10   law enforcement circles, correct?

   11   A     Yes, sir, that's correct.

   12   Q     Do you remember the lawyer's name?

   13               MR. FELS:    Objection.

   14   A     Yes, sir.

   15               THE COURT:    Sustained.

   16   Q     Was his name Hugo Mayo?

   17               MR. FELS:    Objection, Your Honor.

   18               THE COURT:    Sustained.

   19   BY MR. LICHTMAN:

   20   Q     You recall this meeting though, correct?

   21   A     Yes, sir.

   22   Q     And this lawyer offered to go to Washington to clear you,

   23   correct?

   24   A     No, sir.

   25   Q     What did he offer you?


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3230


    1   A     I offered to come to Washington to clear up what was

    2   going on in the case.

    3   Q     You offered to come -- was this lawyer American?

    4   A     No, sir.

    5   Q     So you're telling the jury that you offered to come to

    6   Washington to meet with federal law enforcement in America?

    7   A     I'm saying that that's what I said to the lawyer.

    8   Q     You said to the lawyer that you were an honest

    9   businessman, correct?

   10   A     Yes, sir, that's correct.

   11   Q     So when you told the lawyer that you're willing to go to

   12   Washington, that was a lie, correct?

   13   A     Of course it was, yes, sir.

   14   Q     And the lawyer informed you that you had been mentioned

   15   in relation to weapons, correct?

   16   A     That's correct, yes, sir.

   17   Q     You also lied and said that wasn't true, correct?

   18   A     That's correct, yes, sir.

   19   Q     But you knew what he was referring to when he mentioned

   20   your involvement in weapons, didn't you?

   21   A     Perfectly well, yes.

   22   Q     He was referring to the 5,000 guns you had given to the

   23   Colombian terrorist group the AUC?

   24   A     That's correct, yes, sir.

   25   Q     And the AUC was involved in kidnapping and murders?


                            Georgette K. Betts, RPR, CSR, FCRR
                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3231


    1   A     That's correct, yes, sir.

    2   Q     And drug dealing too?

    3   A     Yes, sir, that's correct.

    4   Q     And you gave them, not sold them, 5,000 guns as well as

    5   rocket launchers and machine guns?

    6   A     Yes, sir, that's correct.

    7   Q     And 5 million bullets?

    8   A     Yes, sir, that's correct.

    9   Q     All for free, correct?

   10   A     Yes, sir, that's correct.

   11   Q     And you testified on direct that you gave the AUC weapons

   12   because their enemy, the paramilitary group the FARC, had

   13   tried to kill your mother and kidnap your father?

   14   A     The guerrilla group, yes, that's correct.

   15   Q     The guerrilla group?      What did I call it?

   16   A     You said paramilitary group.       And the FARC are the

   17   guerilla group and the AUC are a paramilitary group.

   18   Q     So there's a difference between paramilitary and

   19   guerrilla groups and terrorists?

   20   A     No, sir, not to me.

   21   Q     There is no difference, correct?

   22   A     No, sir, they are as equally terrorists, as equally

   23   killers, and equally traffickers of drugs.

   24   Q     So when I described them as paramilitary, why did you

   25   correct me and tell me that they were guerrillas?


                            Georgette K. Betts, RPR, CSR, FCRR
                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3232


    1   A     Because you have mistakes in your notes and I wanted to

    2   contribute something to you, but I apologize I won't do it

    3   again.

    4   Q     You're contributing plenty, it's okay.

    5               You wanted to --

    6   A     Thank you.

    7   Q     -- help the AUC, which was the question, in their fight

    8   against the FARC because the FARC tried to kill your mother

    9   and kidnap your father, yes or no?

   10   A     That's correct, yes, sir.

   11   Q     So you took what you considered to be a moral stand

   12   there?

   13   A     I don't understand that question.

   14   Q     You thought you were doing the right thing by helping the

   15   AUC fight the FARC because the FARC had tried to hurt your

   16   parents.

   17   A     Yes, sir, that's correct.

   18   Q     You felt that was morally right, correct?

   19   A     No, sir.

   20   Q     You thought it was morally wrong?

   21   A     I continue thinking that it is morally wrong.

   22   Q     But you did it anyway?

   23   A     Yes, sir, I did.

   24   Q     You had Simon Yelenick approach the AUC in order to

   25   assist them with supplying weapons?


                            Georgette K. Betts, RPR, CSR, FCRR
                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3233


    1   A     I did that directly myself with him.

    2   Q     With Yelenick, correct?

    3   A     Yes, Simon Yelenick, yes, sir, that's correct.

    4   Q     And Yelenick was the criminal partner of yours?

    5   A     Yes, sir, he used to help us also with bringing down the

    6   money from Don Joaquin for the purchase of the cocaine.

    7   Q     Did I mention Don Joaquin in that question, or did you

    8   just throw that in for extra?

    9               MR. FELS:    Objection.

   10               THE COURT:    Sustained.

   11   BY MR. LICHTMAN:

   12   Q     Tell me something, did you pay a Panamanian judge

   13   $1.2 million to get Yelenick released when he was arrested on

   14   drug charges in 2002 or 2003?

   15   A     Yes, sir, that's correct.

   16   Q     Was that with Don Joaquin as well?

   17   A     No, sir, that was not with Don Joaquin.

   18   Q     He wasn't involved in that?

   19   A     No, sir, he was not.

   20   Q     You don't want to add him to that?

   21   A     No, sir, that would be lying.

   22   Q     So you bribed a judge with $1.2 million to get somebody

   23   out of legal jeopardy?

   24   A     That's correct, yes, sir.

   25   Q     And you testified on direct that you actually purchased


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                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3234


    1   5,000 guns and 5 million bullets and you gifted them to the

    2   AUC in order to get back at the FARC for what they did to your

    3   parents?

    4   A      That's correct, yes, sir.

    5   Q      You hated the FARC, didn't you?

    6   A      Yes, sir.

    7   Q      Yet you managed to buy drugs from middlemen who purchased

    8   drugs from the FARC?

    9   A      Yes, sir.

   10   Q      Maybe you didn't hate the FARC as much as you thought you

   11   did?

   12   A      There was no way of acquiring cocaine from somewhere else

   13   because they controlled the area.

   14   Q      And acquiring cocaine was all that mattered to you?

   15   A      Yes, sir.

   16   Q      And even though the FARC had tried to kill and kidnap

   17   your parents, you were willing to put money in their pockets

   18   if it could help you deal drugs, correct?

   19   A      Yes, sir, that's correct.

   20   Q      A few months after this lawyer visited you and offered to

   21   at least discuss your name had been coming up in law

   22   enforcement circles -- you can start with that and I'll finish

   23   the sentence -- in October of 2010, you testified on direct

   24   you were visited by a Colombian Navy intelligence officer,

   25   correct?


                            Georgette K. Betts, RPR, CSR, FCRR
                                  Official Court Reporter
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                             Cifuentes - cross - Lichtman                   3235


    1   A     Yes, sir.

    2   Q     And you were debriefed on this incident, what occurred

    3   next, numerous times, weren't you?

    4   A     Yes, sir.

    5   Q     And your story changed a number of times, didn't it, when

    6   you explained this to the government?

    7   A     No, sir.

    8   Q     Do you recall being debriefed by the government

    9   prosecutors and agents in February of 2017?

   10   A     I had many debriefings sir, yes.

   11   Q     Do you recall being debriefed about this story in

   12   February of 2017 is what I asked?

   13   A     Yes, sir.

   14   Q     And do you recall telling the government that the officer

   15   that had visited you was a representative of United States

   16   Naval intelligence?

   17   A     No, sir.

   18               (Continued on the next page.)

   19

   20

   21

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                            Georgette K. Betts, RPR, CSR, FCRR
                                  Official Court Reporter
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                         Cifuentes Villa - Cross - Lichtman                3236


    1   BY MR. LICHTMAN (CONTINUED):

    2   Q     That's a pretty big deal, that the United States Naval

    3   intelligence officer would be involved in meeting you about

    4   your drug dealing, isn't it?

    5               MR. FELS:     Objection, Your Honor.

    6               THE COURT:     Sustained.

    7   Q     Did you tell the Government in this February 2017

    8   debriefing that the officer had contacted your sister,

    9   Dolly, first?

   10   A     That's correct, yes, sir.

   11   Q     And informed her that the United States was seeking

   12   your extradition?

   13   A     That there was a case in the United States.

   14   Q     And that they were seeking your extradition?

   15   A     At that time they did not mention the word

   16   "extradition."

   17   Q     You never told the Government that you learned from

   18   this either Colombian or United States Naval officer that

   19   the United States was seeking your extradition?

   20   A     That we had a case in the United States, that's

   21   correct, yes, sir.

   22   Q     And you never learned from Dolly that the United States

   23   was seeking your extradition?

   24   A     There was no extradition yet at the time.         The

   25   extradition came later.



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                                    Official Court Reporter
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                         Cifuentes Villa - Cross - Lichtman                3237


    1   Q     Sir, that wasn't my question.        My question was, did you

    2   learn from Dolly that she learned that the United States was

    3   requesting your extradition?

    4   A     There was no extradition at the time -- at the time,

    5   no, sir.

    6   Q     So you're saying you never told the Government, you're

    7   100 percent certain you never told the Government that you

    8   learned from Dolly who learned from this Naval intelligence

    9   officer that the United States had requested your

   10   extradition?

   11   A     Seeking my extradition, yes, sir, that's correct, I did

   12   find that out from her.       But no extradition had been

   13   requested yet at the time.

   14   Q     So what you said that you learned from Dolly they were

   15   seeking your extradition, but that no extradition had been

   16   requested at the time?

   17   A     There was an investigation being conducted by the

   18   American Government about our drug trafficking activities.

   19   But the extradition was requested in 2011, not in 2010 as

   20   you are saying, sir.

   21   Q     Did you learn from Dolly who learned from the Naval

   22   intelligence officer that the United States was seeking your

   23   extradition?

   24               MR. FELS:     Objection, compound.

   25               THE COURT:     I will let him answer this last



                                 David R. Roy, RPR, CSR, CCR
                                    Official Court Reporter
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                         Cifuentes Villa - Cross - Lichtman                3238


    1   question.

    2   Q     So this is a yes-or-no question.

    3   A     Sir, that the American Government was conducting an

    4   investigation about our family and some other people for

    5   drug trafficking.

    6   Q     I'm going to try to ask the question slowly.

    7               THE COURT:     Mr. Lichtman, I mean, you probably got

    8   as much as you are going to get.

    9   Q     You were away at the time visiting a cocaine processor

   10   in Bogota, Columbia, when you learned of this Naval

   11   intelligence officer?

   12               MR. FELS:     Objection.    If I could have a word or a

   13   phrase?

   14               THE COURT:     Yes, a word.

   15               MR. FELS:     Facts not in evidence.

   16               THE COURT:     I assume there is a good faith basis

   17   for the question, I will let him answer.

   18               MR. LICHTMAN:     There certainly was.

   19   Q     Can you answer that?

   20   A     Can you repeat the question?

   21   Q     You were away at the time visiting a cocaine processor

   22   in Bogota when you learned of the existence of this Naval

   23   intelligence officer?

   24   A     Pangara, the guy who checked the cocaine visited Dolly

   25   and he brought with him people from naval intelligence.



                                 David R. Roy, RPR, CSR, CCR
                                    Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3239


    1   Q     And you travelled to the Medellin and met with this

    2   Naval intelligence officer in Dolly's home?

    3   A     That is correct, yes, sir.

    4   Q     And this officer came with a USB drive?

    5               THE INTERPRETER:      Can you repeat the question for

    6   the interpreter?

    7               MR. LICHTMAN:     Yes.

    8   Q     This officer came with a USB drive?

    9   A     Yes, sir, that is right.

   10   Q     Which he then plugged into a computer?

   11   A     Yes, my sister Dolly's computer.

   12   Q     And according to you, he played you audio files of

   13   calls between Dolly; your brother, Alex; and Mr. Guzman?

   14   A     No, sir.

   15   Q     Did you listen to audio files that he played for you?

   16   A     Yes, sir.

   17   Q     What were the audio files of?

   18   A     A conversation between my sister and I.          But there were

   19   thousands of files.

   20   Q     Conversations were between your sister and Dolly?

   21               THE COURT:     No, he said his sister and I.

   22   Q     Dolly and you?

   23   A     That's correct, yes.

   24   Q     You didn't tell the Government that your brother was

   25   also heard on some of these audio files?



                                 David R. Roy, RPR, CSR, CCR
                                    Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3240


    1   A     No, sir.

    2   Q     So you never heard a call between Dolly and Alex

    3   discussing drug dealing?

    4   A     No, sir.

    5   Q     You never heard calls between Dolly and Alex discussing

    6   heroin and methamphetamine deals behind your back?

    7   A     There was a newspaper notice which spoke about that,

    8   but not that they had spoken one to the other.          Within the

    9   file there was a file which contained news related to the --

   10   that with it to the elicit governments of the family.

   11   Q     So you're saying that within the file that you

   12   provided -- the file was a secret file, top secret?

   13   A     I don't know.    It wasn't USB.     I don't know whether

   14   there's a difference.

   15   Q     Well, didn't you think that these were secret

   16   government files that you were seeing?

   17   A     Well, no, because that guy was showing them to me.          I

   18   don't know.

   19   Q     So you didn't think he was doing you any favor by

   20   showing you secret government evidence that had been

   21   collected against you and your family?

   22   A     Yes, that's what he said.      He said he was doing this as

   23   a favor.

   24   Q     Well, did you believe that he was doing you a favor?

   25   A     Yes, sir.



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                                   Official Court Reporter
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                           Cifuentes Villa - Cross - Lichtman              3241


    1   Q      Did you believe that he was showing you evidence that

    2   perhaps you shouldn't have known that existed?

    3   A      Can you repeat that?

    4   Q      Didn't you believe that he was showing you evidence

    5   that you shouldn't have known had been collected against

    6   you?

    7   A      Yes, sir.

    8   Q      And you did listen to recorded conversations, correct?

    9   A      One phone call.

   10   Q      And it was on an encrypted system, according to you?

   11   A      No, sir.

   12   Q      So if you told the Government that you listened to many

   13   conversations, that would be a lie?

   14   A      I saw the files for many recordings, but I didn't

   15   listen to them.      There was not enough time.

   16   Q      Did you take notes of what you saw?

   17   A      Yes, sir.

   18   Q      Did you see organizational charts about your family's

   19   drug dealing and financial assets?

   20   A      Yes, sir.    I did see an organizational chart belonging

   21   to where Don Joaquin and I were up at the top and all my

   22   family was underneath.

   23   Q      Don Joaquin was in there as well, correct?

   24   A      Yes.   He's my co-defendant.

   25   Q      Did I mention, by the way, in my question anything



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                                    Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3242


    1   about Don Joaquin or was I talking about Don Simon?

    2                MR. FELS:     Objection.

    3                THE COURT:     Sustained.

    4   Q     The materials that you saw, they were very similar to

    5   the chart that you saw when you were extradited to America?

    6   A     Yes, sir.

    7   Q     And the charts were so accurate that it looked as if

    8   you had created them yourself, you told the Government,

    9   correct?

   10   A     Not the charts, the information in the investigation.

   11   Q     Is exactly what you learned when you came to America

   12   after being extradited, correct?

   13   A     That's correct, yes, sir.

   14   Q     And you got very scared, didn't you?

   15   A     I am still scared, yes, sir.

   16   Q     Did I ask you, were you very scared when this naval

   17   officer showed you evidence of your drug dealing?

   18   A     Yes, sir.    Yes.

   19   Q     And you learned from the presentation that Alex and

   20   Dolly had lied to you, correct?

   21   A     Yes.   There was a news article referring to Ephedrine.

   22   Q     What does a news article dealing with Ephedrine have to

   23   do with Dolly and Alex lying to your face?

   24   A     Because there was some news that there had been a

   25   shipment in a plane that had crashed in Santa Cholula,



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                                     Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3243


    1   Mexico with cocaine and Ephedrine, and I asked Dolly, What

    2   do they mean Ephedrine?      And she said, Yes, we were sending

    3   some.

    4   Q     Did you ask Alex as well?

    5   A     Yes, sir.

    6   Q     They came clean to you and admitted that they were

    7   dealing Ephedrine?

    8   A     Yes.   They said that Don Joaquin had asked them to find

    9   some types of Ephedrine in Colombia that were used to make a

   10   different drug.      And Don Joaquin he knows that I didn't like

   11   to fuck around with Ephedrine.

   12   Q     So Don Joaquin knew that you didn't like to fuck around

   13   with Ephedrine, is that what you just said?

   14   A     That's right.

   15   Q     Tell me something, sir --

   16   A     And he had my siblings send him Ephedrine.

   17   Q     Sir, you just said that you didn't like to F around

   18   with Ephedrine?

   19   A     Yes.   Later on when I was on the run in Venezuela, I

   20   changed my mind.

   21   Q     So when it was convenient for you, you didn't mind

   22   F'ing around with Ephedrine, correct?

   23   A     I never did.

   24   Q     You tried to, didn't you?

   25   A     I tried to find out about the Ephedrine for him.



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                                   Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3244


    1   Q     You tried -- the only reason when you were on the run

    2   in Venezuela, you ran to Venezuela after you saw this

    3   material on this naval officer's computer?

    4   A     Can you repeat that, please.

    5   Q     You ran to Venezuela after you saw this information

    6   because you were afraid you were going to be arrested,

    7   correct?

    8   A     Yes, sir, that's correct.

    9   Q     And you were struggling in Venezuela, correct?

   10   A     I was starving, yes.

   11   Q     You were starving?

   12   A     I was in bad shape.

   13   Q     You grew a beard to hide yourself, correct, or disguise

   14   yourself?

   15   A     Yes, sir.

   16   Q     You had fake identification on you, didn't you?

   17   A     Yes, sir, that's correct.

   18   Q     And your great moral feeling about being against drug

   19   dealing, drug dealing of Ephedrine was overcome, wasn't it?

   20   A     Yes.   Hunger made me change my mind.

   21   Q     Hunger made you change your morality, didn't it?

   22   A     Yes, sir, that's correct --

   23   Q     You claim --

   24   A     -- I am guilty.

   25   Q     You claim that you were against the dealing of



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                          Cifuentes Villa - Cross - Lichtman               3245


    1   Ephedrine because it was used to make methamphetamines,

    2   correct?

    3   A     That is correct, yes, sir.

    4   Q     And you felt that young people were getting addicted to

    5   this very dangerous drug, correct?

    6   A     Yes, sir, that's correct.

    7   Q     And you wanted no part of it because you had morality

    8   and didn't want to hurt young people, correct?

    9   A     That's correct.

   10   Q     Despite the fact that you had sent thousands of tons of

   11   cocaine into America?

   12   A     220 tons.

   13   Q     220 tons is thousands of kilograms, isn't it?

   14   A     220,000 kilos, yes, sir.

   15   Q     That's hundreds of thousands of kilograms, isn't it?

   16   A     Yes, that's correct.

   17   Q     Is cocaine good for young people?

   18   A     No, sir.

   19               THE COURT:     Mr. Lichtman, no yelling in the

   20   courtroom.

   21               Go ahead.

   22   Q     You had no problem sending 220,000 kilograms of cocaine

   23   to young people in America, did you?

   24   A     No, sir.

   25   Q     But you drew the line at Ephedrine, didn't you?



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                                    Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3246


    1   A     Yes, sir.    I did change my mind, and that's too bad.

    2   But it is true.

    3   Q     And you did it because you wanted to change your

    4   morality then, didn't you?

    5   A     No, because I needed the money.

    6   Q     You did it for selfish reasons, correct?

    7   A     Yes, sir, that's correct.

    8   Q     Now, this --

    9                THE COURT:     Mr. Lichtman, I really think you've

   10   exhausted this topic.

   11                MR. LICHTMAN:     You think so?

   12                THE COURT:     I think so.

   13   Q     Now, do you recall being --

   14                MR. LICHTMAN:     I'm going to just do very briefly

   15   on other debriefings on this, Judge.           I'll run through these

   16   questions.

   17                THE COURT:     Okay.

   18   Q     You remember being debriefed by this naval intelligence

   19   officer coming to visit you numerous times, as you said?

   20   A     Can you please repeat.

   21   Q     Yes.   You were debriefed about this meeting between the

   22   naval intelligence officer and yourself in 2010 numerous

   23   times, weren't you?

   24   A     That's correct, yes, sir.

   25   Q     And you remember telling the Government that you



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    1   offered this man $10 million to get rid of all the originals

    2   of the evidence?

    3   A     To stop the investigation.

    4   Q     You offered him $10 million to get rid of all the

    5   originals of the evidence, didn't you?

    6   A     That's correct, yes, sir.

    7   Q     And he said no because he claimed he worked for a

    8   Federal Colombian Agency you said in another briefing?

    9   A     No, sir, I didn't -- he didn't say who he worked for.

   10   But he told me he couldn't receive money from me because he

   11   would be killed.

   12   Q     He would kill you?

   13   A     No, sir.    That he couldn't receive money from me

   14   because his boss or his organization would murder him.

   15   Q     And didn't you -- you just testified that you didn't

   16   know who this man worked for?

   17   A     I assumed that he worked for naval intelligence, but he

   18   didn't admit that.      He didn't say who he worked for.

   19   Q     Why did you assume that he worked for Colombian Naval

   20   Intelligence as an officer?

   21   A     Because Pangara, the person who received the cocaine,

   22   introduced him and he said he was a naval officer.           But he

   23   never admitted that.

   24   Q     You claim you took notes of this evidence against you?

   25   A     I wrote down the case number.       There was a case in



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                                   Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman                 3248


    1   Florida and I wrote down that case number.            That was the

    2   only thing there was.

    3   Q     You didn't take any notes of the evidence?

    4   A     No, sir.

    5   Q     You didn't tell the Government in a debriefing in

    6   October of 2015 that you were able to take notes?

    7   A     Yes, sir, I noted down the case number.

    8   Q     That's what you consider to be notes, just the case

    9   number?

   10   A     Certainly, yes, sir.

   11   Q     Were you told that all the evidence was sent to the

   12   United States every three years?

   13   A     No, sir, that's another mistake.        Every three months.

   14   Q     Every three months they sent it, not every three years?

   15   A     That's correct, yes, sir.

   16   Q     And did you describe the man to the Government as 35

   17   years old and from El Villa based on his accent?

   18   A     From where?

   19   Q     El Villa?

   20   A     I don't understand what that is.

   21   Q     Did you tell the Government that based on his accent,

   22   you believed you knew where he was from, this man?

   23   A     Yes.   He had a Cali accent.

   24   Q     Did you tell the Government that you could recognize

   25   his picture if you were shown a photo?



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                                   Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3249


    1   A      Yes, sir, that's correct.

    2   Q      Did the Government ever show you any photos?

    3   A      They have shown me thousands of photos.

    4   Q      Did they show you any photos of who might this

    5   Colombian or whatever naval intelligence officer was, who he

    6   was?

    7   A      In none of the photos they showed me was there the

    8   naval officer, whatever.

    9   Q      They ask you for the notes that you took down when you

   10   had seen this evidence?

   11   A      No, sir.   I said that I noted down the case number.

   12   Q      So where is that note?     You noted it down?     That means

   13   you used a pen on paper?

   14   A      The case number, it's on the indictment.        You can find

   15   it on there.

   16   Q      When you wrote down the notes did you use a pen?

   17   A      Yes, a blue one.

   18   Q      Did you use the blue pen on paper to write down the

   19   notes?

   20   A      Yes.   At the top I wrote the case number.

   21   Q      Did you give the notes with the case number on it to

   22   the Government?

   23   A      No.    They captured me like two years later when I was

   24   fleeing on the mountain.

   25   Q      I simply asked --



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                                   Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman                 3250


    1   A     I dropped the notes and money and everything and

    2   phones.

    3   Q     So you lost the notes -- but you kept the note because

    4   it was important to you?

    5   A     In order to hire a lawyer.

    6   Q     You kept the notes because it was important to you.

    7   We'll try a second time.

    8   A     No.   I gave it to my sister.       I gave her the case

    9   number.     She was talking about the person who said she was a

   10   prosecutor.      I don't -- should I tell you that story?          It's

   11   a long story.

   12               THE COURT:     Everyone quiet, please.

   13   Q     I'm just going to try to ask this question for the

   14   third time.

   15               The notes that you claim that you took when the

   16   naval intelligence officer showed you the evidence, did you

   17   keep them when you went to Venezuela?

   18   A     No, sir.

   19   Q     You threw them out?

   20   A     As I said, I gave the case number to my sister.

   21   Q     And then you threw the piece of paper out?

   22   A     Oh, yes, sir.    Of course, yes.      You're right.    I'm

   23   sorry.

   24   Q     You threw it out?

   25   A     I tore it up and threw it out.



                                 David R. Roy, RPR, CSR, CCR
                                    Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman                3251


    1   Q     In Venezuela or in Colombia before you got to

    2   Venezuela?

    3   A     At my sister's house in the toilet and I flushed.

    4   Q     Do you find that these questions are a little tougher

    5   to answer on cross than they were on direct?

    6               MR. FELS:     Objection.

    7               THE COURT:     Sustained, sustained.

    8               It's really not a fair question.           You asked, for

    9   example, a minute ago you said for the third time, and then

   10   you approached a question from a completely different angle.

   11   That's fine for you, but the question you just asked was not

   12   legitimate.

   13   Q     I asked you a number of times whether you kept the

   14   paper with the case number on it.         It took awhile for you to

   15   answer, didn't it?

   16               MR. FELS:     Objection.

   17               THE COURT:     Sustained.

   18   Q     You met with the Government in May of 2018, just a few

   19   months ago, and discussed this meeting with the supposed

   20   intelligence -- navy intelligence officer, correct?

   21   A     Yes, sir.

   22   Q     Do you recall telling the Government that the man that

   23   came to visit you with the evidence was an unnamed

   24   policeman?

   25   A     Yes, sir.



                                 David R. Roy, RPR, CSR, CCR
                                    Official Court Reporter
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                         Cifuentes Villa - Cross - Lichtman                3252


    1   Q     You told them that it was possibly a police -- excuse

    2   me.   You told them that it was an unnamed policeman,

    3   correct?

    4   A     I don't know his name.

    5   Q     I just asked you if in May of 2018, you told the

    6   Government --

    7               THE COURT:     Okay.   Sidebar, please.

    8               (Continued on next page.)

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                                    Official Court Reporter
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                                   Sidebar Conference                      3253


    1               (The following occurred at sidebar.)

    2               THE COURT:     I don't know if you are doing this on

    3   purpose, but it is not fair.        You asked him first, Did you

    4   tell the Government there was an unnamed policeman?           He

    5   said, Yes, sir.     Then you asked him the same question again,

    6   and he's thinking in his mind, Well, I guess he wants more,

    7   so he tries to give you something more.          He says, I didn't

    8   know the name.     Then you treat it like he hasn't answered

    9   your question, but he did two questions ago.           He said, yes,

   10   sir, I told him it was an unnamed policeman.

   11               So really listen to his answers before you keep

   12   peppering with the same questions and then say, Ah-ha, it's

   13   inconsistent and he's trying to help you.          I don't mean that

   14   literally.    I mean, he's trying to give you more information

   15   because he feels like you're not satisfied even with his

   16   answer.

   17               MR. LICHTMAN:     I'm not satisfied.

   18               THE COURT:     I understand you are not satisfied,

   19   but I think there are a lot of questions you asked you ought

   20   to be satisfied.     You got the answer.

   21               MR. LICHTMAN:     Thank you.

   22               (Continued on next page.)

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                                    Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3254


    1               (Sidebar ends; in open court.)

    2   BY MR. LICHTMAN:

    3   Q     Sir, do you recall being debriefed on this visit by the

    4   Columbian Naval intelligence officer or a policeman at the

    5   end of September of this year, just a couple months ago?

    6   A     Yes, sir.

    7   Q     Do you recall telling the Government that the person

    8   who had visited you was a corrupt Colombian official,

    9   possibly the police?

   10   A     Yes, sir, that's correct.

   11   Q     Sir, do you know what the SIU is?

   12   A     No.

   13   Q     Do you know that the SIU is a -- is a -- is an acronym

   14   for Sensitive Investigations Unit?

   15   A     No, sir.

   16   Q     You don't know of an agency that is United States

   17   trained and equipped, it's a group of secret Colombian

   18   agents?

   19               MR. FELS:     Objection.

   20               THE COURT:     Overruled.

   21               THE WITNESS:     What should I do?

   22               THE COURT:     No, I overruled the objection.

   23               You can answer.

   24   A     No, sir.    I did not know about the existence of that

   25   group.



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                                    Official Court Reporter
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                           Cifuentes Villa - Cross - Lichtman              3255


    1   Q      Do you recall being debriefed on this issue, this will

    2   be the last part of this, the visit that you received from

    3   the Colombian -- let's call him a Colombian man, in February

    4   of 2016?

    5   A      Yes, sir.    They have asked me about the same thing many

    6   times.

    7   Q      And do you recall telling the Government during this

    8   February 2016 debriefing that a corrupt member of the SIU

    9   came to visit you?

   10   A      That's another mistake.     UNAIM.   UNAIM, Navy

   11   Intelligence Unit.      Of the Navy, of the Navy, UNAIM.       Unidad

   12   de la Inteligencia, Intelligence -- Intelligence Navy Unit.

   13   Q      You don't remember telling the Government in February

   14   of 2016 that a corrupt SIU agent came to see you and showed

   15   you the DEA's case against you?

   16   A      UNAIM, Intelligence Navy unit, National Navy

   17   Intelligence Unit, UNAIM.

   18   Q      You didn't tell the Government the SIU?

   19   A      The first time I've ever heard that name is from you,

   20   sir.

   21   Q      And you said that this whoever he was, made a

   22   PowerPoint presentation to you with all of the DEA's files

   23   against you and case against you?

   24   A      No, sir.    That -- in the USB there was a PowerPoint

   25   presentation.



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                                   Official Court Reporter
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                         Cifuentes Villa - Cross - Lichtman                3256


    1   Q     Did you see the PowerPoint presentation?

    2   A     No, sir.    But at the end of the file he read it,

    3   PowerPoint.

    4   Q     He read PowerPoint?

    5               THE COURT:     It read PowerPoint.

    6   Q     But you didn't see any PowerPoint presentation?

    7   A     The only one I saw was the organizational chart of

    8   OFAC.

    9   Q     Well, you saw more than an organizational chart.          You

   10   saw other DEA evidence, didn't you?

   11   A     There were many files, many thousands upon thousands of

   12   files.    It was impressive, but I did not open them.

   13   Q     So the only thing that you saw that day was an

   14   organizational chart?

   15               MR. FELS:     Objection, mischaracterizes the

   16   evidence.

   17               THE COURT:     Sustained.

   18   Q     What did you see that day from the materials that the

   19   officer showed you?

   20               MR. FELS:     Objection.    Asked and answered.

   21               THE COURT:     We have really been over this, really.

   22               MR. LICHTMAN:     Well, Judge, I'm trying to go back

   23   in the inconsistency he just gave me on the answer.

   24               MR. FELS:     Objection.    The defense attorney's

   25   testifying, Your Honor.



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                                    Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3257


    1               THE COURT:     I understand you have a view that

    2   there is an inconsistency.        The jury will determine whether

    3   there is indeed an inconsistency.         But let me assure you, if

    4   you have one, it is already there.

    5   Q     You were devastated by the death of your brother,

    6   Pacho, correct?

    7   A     Yes, sir, that's correct.

    8   Q     And you were protective over your brother, Alex, and

    9   your sister, Dolly?

   10   A     Yes, sir.

   11   Q     And they were, in fact, the most trusted part of your

   12   drug trafficking organization after Pacho was killed?

   13   A     Yes, sir, that's correct.

   14   Q     And you relied on them very much, didn't you?

   15   A     I don't understand.

   16   Q     You relied on them in connection with your drug

   17   trafficking, didn't you?

   18   A     Yes, sir, that is correct.

   19   Q     And, in fact, you told the Government that you trusted

   20   Alex completely, didn't you?

   21   A     And I continued to, yes, sir.

   22   Q     But, in fact, he lied to you about the Ephedrine

   23   dealing, didn't he?

   24   A     Yes, that's correct.

   25   Q     And, in fact, other times as you told the Government,



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                                    Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3258


    1   he was overly dramatic and exaggerated facts with you?

    2   A     That's correct, yes, sir.

    3   Q     And you even told the Government that Alex would

    4   exaggerate things in order to get you to take some action in

    5   connection with Mr. Guzman, didn't you?

    6   A     Yes, sir, that's correct.

    7   Q     And at one point you didn't trust him completely

    8   because you fired him, didn't you, in 1995?

    9   A     Did I fire him?     I don't know what you're talking

   10   about.

   11   Q     You fired him because he was an alcoholic.

   12   A     How can you fire your brother?       He did not work with

   13   me.   And he continued being my brother.

   14   Q     Was your brother an alcoholic?

   15   A     Of course.    Of course, he was, yes.      He had

   16   pancreatitis necrotic pancreatitis.

   17   Q     Because of the alcoholism?

   18   A     Yes, sir.

   19   Q     And you never fired him in connection with your drug

   20   trafficking organization?

   21   A     Yes, sir.    I put some -- I put them to the side.

   22   But --

   23               THE INTERPRETER:     The interpreter needs to

   24   clarify.

   25   A     But the money my brother, Alex, used came from drug



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                          Cifuentes Villa - Cross - Lichtman               3259


    1   trafficking --

    2   Q     Sir, I simply asked --

    3   A     -- so I don't understand.       Excuse me, but I am --

    4   Q     You just testified that you put him on the side?

    5   A     Yes, sir.    Yes, sir, that's correct.

    6   Q     Which means you fired him, correct?

    7   A     No, sir.

    8   Q     So what do you mean, you put him on the side?          Explain

    9   that.

   10   A     Without having any responsibilities, any commitment.

   11               THE COURT:     Did he continue to get paid when you

   12   put him on the side?

   13               THE WITNESS:     Yes, sir.

   14   Q     So he was paid, but he wasn't allowed to do the normal

   15   things that he was doing in your drug trafficking

   16   organization?

   17   A     That's correct.

   18   Q     So would you say that you suspended him with pay?

   19   A     That's correct, yes, sir.

   20   Q     But you didn't fire him, correct?

   21               THE COURT:     Okay.   Mr. Lichtman, we have that.

   22               Go ahead.

   23   Q     Now, you also didn't believe Alex when he claimed that

   24   he'd been shot, correct?

   25   A     No, sir.



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                                    Official Court Reporter
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                         Cifuentes Villa - Cross - Lichtman                3260


    1   Q     And he told you that his girlfriend had --

    2               MR. FELS:     Objection, Your Honor, prior ruling.

    3               MR. LICHTMAN:     Judge, I don't think this is part

    4   of this at all.

    5               THE COURT:     In the motion in limine?

    6               MR. FELS:     Can we have a sidebar?

    7               THE COURT:     Yes.

    8               (Continued on next page.)

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                                    Official Court Reporter
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                                   Official Court Reporter
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                                   Official Court Reporter
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                                   Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3265


    1               (Sidebar ends; in open court.)

    2               MR. LICHTMAN:     May I, sir?

    3               THE COURT:     Please.

    4               MR. LICHTMAN:     Thank you.

    5   BY MR. LICHTMAN:

    6   Q     After your sister, Dolly, was arrested, she was placed

    7   in a Colombian prison until she was extradited to America,

    8   correct?

    9   A     Yes, sir, that's correct.

   10   Q     And do you recall that Alex suggested to break her out

   11   of that prison in Colombia?

   12   A     Yes, sir, that's correct.

   13   Q     Now, beyond the officer, whether he's a naval

   14   intelligence officer or a policeman, who showed you the

   15   American evidence against you, you knew that some DEA agents

   16   and other American officials were corrupt, didn't you?

   17               MR. FELS:     Objection.    Relevance.

   18               THE COURT:     Sustained.

   19   Q     When you were dealing drugs, you believed that the DEA

   20   has some corrupt members in it, didn't you?

   21               MR. FELS:     Objection, same.

   22               THE COURT:     I really -- I cannot say it's

   23   irrelevant without knowing where he is going.          I will allow

   24   an answer to this question.

   25   A     Yes, sir.



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                                    Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3266


    1   Q     And you recall speaking to Alex -- excuse me.

    2               You were asked to review some intercepted

    3   Blackberry messages that you sent your brother?

    4   A     That's correct, yes, sir.

    5   Q     You knew someone named Poncho?

    6   A     Yes, sir.

    7   Q     And Poncho told you that he had a family member inside

    8   the DEA?

    9   A     Yes, sir, a cousin.

   10   Q     Who was leaking information?

   11   A     Yes, sir.

   12   Q     And because of this, in Blackberry exchanges you warned

   13   Alex to be careful speaking to your mother because the DEA

   14   was listening in?

   15   A     Yes, sir.

   16   Q     And you witnessed your brother, Pacho, paying off the

   17   DEA agents in Colombia, didn't you?

   18   A     No, sir.

   19   Q     You don't recall DEA agents receiving cash in cardboard

   20   boxes?

   21   A     No, sir.

   22   Q     Dolly, your sister, put you in touch with who you

   23   thought was an American prosecutor; do you recall that?

   24   A     Yes, sir, that is correct.

   25   Q     And you met with someone named Reina?           Am I pronouncing



                                David R. Roy, RPR, CSR, CCR
                                   Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman                3267


    1   that correctly?

    2   A     Very well, Reina Londoño.

    3   Q     And you met with her numerous times about making the

    4   American case against you go away?

    5   A     We -- Adriana Gonzalez, her colleague.

    6   Q     Well, just let me get back to Reina, if I can.

    7                You told the Government that Reina takes care of

    8   everything in Colombia?

    9   A     She was supposedly a Colombian prosecutor.         But they

   10   were scandals, but that wasn't the case.

   11   Q     You thought that Reina could make criminal cases go

   12   away, correct?

   13   A     Yes, sir, that's correct.

   14   Q     And she asked you for 16 million American dollars to

   15   bribe the necessary people in America to make your case go

   16   away?

   17   A     No, sir, it was not her.      It was Adriana Gonzalez.

   18   Q     Adriana Gonzalez, you met with her?

   19   A     Yes, sir.

   20   Q     She takes care of things in America, you told the

   21   Government?

   22   A     Yes.   That she had ways with $16 million to make sure

   23   that the case went away.

   24   Q     So she asked you for 16 million American dollars to

   25   make the American case against you go away?



                                David R. Roy, RPR, CSR, CCR
                                   Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3268


    1   A     Yes, sir.

    2   Q     You didn't give her $16 million, did you?

    3   A     No.   She was arrested and went to jail.

    4   Q     Did you pay her $500,000?

    5   A     Yes, sir, that's correct.

    6   Q     Before she was arrested and taken away, correct?

    7   A     Yes, sir, that's correct.

    8   Q     And you paid her to make the American case go away?

    9   A     That's correct, yes, sir.

   10   Q     You paid her because you thought she was going to use

   11   that money to bribe American prosecutors, correct?

   12   A     No, sir.    That's not how that works.

   13   Q     What was the $500,000 for?       Wasn't it, in fact, to make

   14   the American case go away?

   15   A     The $500,000 was so I would not be arrested in

   16   Colombia.    And the $16 million were for them to take care of

   17   the case, for them to hire lawyers, to produce positives so

   18   as to make the case go away.       But I don't know exactly how

   19   it works.    That's what she told me.

   20   Q     The American case against you go away?

   21   A     Yes, sir, that's correct.      In Miami.

   22   Q     Now, Pacho was murdered in 2017?

   23   A     Yes, sir, in April.

   24   Q     And you had learned that he had been killed from a

   25   corrupt Columbian Army colonel named Betancourt?



                                David R. Roy, RPR, CSR, CCR
                                   Official Court Reporter
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                          Cifuentes Villa - Cross - Lichtman               3269


    1   A     No, sir.

    2   Q     You didn't learn that he had been shot and wounded and

    3   then later killed from this Augusto Betancourt?

    4   A     Oh, yes.    He let me know by phone that they had -- they

    5   had killed my brother.       What I understood was that whether

    6   the colonel had killed my brother.        That's what the

    7   interpreter said.

    8   Q     Understood.

    9               Betancourt had been the director of the DAS in

   10   Colombia?

   11   A     Yes, sir, that's correct.

   12   Q     That's the security service agency of Colombia?

   13   A     Yes, sir.    It was.   It's no longer around.

   14   Q     And Betancourt had helped your family and your criminal

   15   associates with telephone interception, hadn't he?

   16   A     No, sir.

   17   Q     He didn't conduct surveillance for you and your family

   18   and give you dossiers on individuals of interest?

   19   A     No, sir.

   20   Q     Sir, do you recall being debriefed on February 3rd,

   21   2016 by the Government?

   22   A     Yes, sir.

   23   Q     You remember the exact date that you were debriefed?

   24   A     No, sir.

   25   Q     You do recall, though, being asked about Augusto



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    1   Betancourt, correct?

    2   A     Yes, sir, that's correct.

    3   Q     And it is possible that you told the Government during

    4   this debriefing that Augusto Betancourt helped the

    5   Cifuentes Villa Family and their associates intercept

    6   telephones, conduct surveillance, and gave them dossiers on

    7   individuals?

    8   A     No, sir.    Augusto was a scaredy-cat and he was good for

    9   nothing.

   10   Q     You gave him money, didn't you?

   11   A     No.

   12   Q     Your brother gave him money, didn't he?

   13   A     I --

   14                THE INTERPRETER:      I'm sorry.

   15   Q     Your brother gave him money, didn't he?

   16   A     No, no.    But what I did with Augusto was get drunk with

   17   him and talk about silly things.

   18   Q     So you never told the Government that you had a corrupt

   19   relationship with Augusto Betancourt, a former director of

   20   the DAS?

   21                MR. FELS:     Objection.    Asked and answered.

   22                THE COURT:     I will let him answer again.

   23   A     No, sir.

   24   Q     You asked him to provide security for a multi-ton

   25   cocaine operation in Ecuador?



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    1   A     He wasn't -- he was no longer that director.         And I

    2   asked him to get together as a security group for my own

    3   personal security, not to buy cocaine.

    4   Q     So did you have a corrupt relationship with him after

    5   he had retired as head of the DAS?

    6   A     No, sir.

    7                And he did not extend my proposal of getting me a

    8   security group for my personal safety.

    9   Q     Your personal safety in connection with your drug

   10   trafficking organization?

   11   A     Yes.   My drug trafficking organization, but he didn't

   12   have knowledge about it, and he didn't accept giving me

   13   security.

   14   Q     Sir, I didn't ask you if he had knowledge of all of

   15   your drug trafficking.      I asked whether you had a corrupt

   16   relationship with him that enabled you to ask him to provide

   17   security for you in connection with your drug trafficking

   18   organization?

   19   A     No, sir.

   20   Q     And your brother visited him often when he was at the

   21   DAS in his office?

   22   A     No, sir, I visited him.

   23   Q     You visited him at his DAS office?

   24   A     Yes, sir.    He had an apartment right there inside

   25   the -- the DAS office.



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                          Cifuentes Villa - Cross - Lichtman               3272


    1   Q     So while he was the head of the DAS, you visited him in

    2   his DAS office?

    3   A     Yes, sir.    He was the boyfriend of my sister, Lucia,

    4   and we had a good friendship.        We would get together in his

    5   house to drink drunk and talk about silly things.

    6   Q     But not a corrupt relationship at all?

    7               THE COURT:     Mr. Lichtman, I think you previously

    8   asked the witness that.       Can we go on to something else?

    9               How are you doing on time?

   10               MR. LICHTMAN:     Judge, we're getting to the end.

   11               THE COURT:     Okay.

   12   Q     Now, you learned from Betancourt, as you testified to a

   13   couple minutes ago, that your brother, Pacho, had been shot

   14   once or twice by the police?

   15   A     Yes, sir.    Not the police.      He told me he had been

   16   murdered.    He told me over the phone.

   17   Q     You didn't tell the Government that Betancourt informed

   18   you that he had been shot by the police?

   19   A     They were some assassins that were dressed up,

   20   disguised as people from Gaula, which is police.

   21   Q     You never found out who killed Pacho?

   22   A     Up until now, I don't know who it was.

   23   Q     But you believe it was because he was working with the

   24   DEA, correct?

   25   A     There were rumors in the city that he was cooperating



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                          Cifuentes Villa - Cross - Lichtman               3273


    1   with the DEA.

    2   Q     You believed the reason he was killed was because of

    3   his cooperation with the DEA?

    4   A     Yes, sir.

    5   Q     And you were obviously, as you testified to before,

    6   devastated by the murder of Pacho?

    7   A     Yes, sir.

    8   Q     And you were so devastated that the day after Pacho's

    9   murder, you had a meeting in your apartment?

   10   A     Yes.   That is correct, yes, sir.

   11   Q     And this meeting was about the three tons of cocaine

   12   that Pacho had hidden on his estate, correct?

   13   A     Yes, in the same one where he was murdered.

   14   Q     And in that meeting, you were asked permission to

   15   continue dealing those drugs, correct?

   16   A     Yes, sir, to deliver this cocaine to its owners.

   17   Q     So your mourning for Pacho didn't last that long

   18   because you immediately had a meeting about cocaine

   19   dealings?

   20                MR. FELS:     Objection, Your Honor.

   21                THE COURT:     Sustained.

   22   Q     When your brother, Pacho, was killed, that didn't stop

   23   you from dealing drugs, correct?

   24   A     No, it was the opposite.        I went to Mexico to meet with

   25   Don Joaquin.



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                         Cifuentes Villa - Cross - Lichtman                  3274


    1   Q     Don Joaquin?

    2   A     Yes.

    3   Q     You wanted to learn who killed your brother, correct?

    4   A     That's correct, yes, sir.

    5   Q     Because you wanted to kill the man that had killed your

    6   brother?

    7   A     More than kill him.       Knowing whether my own life was in

    8   danger.

    9   Q     So you weren't angry to the point that you wanted to

   10   kill the man that killed your brother?

   11   A     I was more afraid than angry.

   12   Q     Yet, when your brother, Fernando, was killed, you gave

   13   an order to kill someone who was involved in that murder?

   14   A     Yes, sir, that's correct.

   15   Q     Now, obviously, I'm going to change the subjects.

   16                MR. LICHTMAN:     Judge, do you want to take a break

   17   now or --

   18                THE COURT:     It depends.    If you are going to

   19   finish in the next 15 minutes, we will go on.           If you are

   20   going to go longer than that, we will break.

   21                MR. LICHTMAN:     We should break.

   22                THE COURT:     All right.

   23                All right, ladies and gentlemen, we are going to

   24   have lunch.     Please do not talk about the case amongst

   25   yourselves.     We will see you in here at 1:35.



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    1               (The jury exits the courtroom.)

    2               (The following matters occurred outside the

    3   presence of the jury.)

    4               THE COURT:     Seriously, how much longer?

    5               MR. LICHTMAN:     Half an hour, tops.

    6               THE COURT:     Okay.

    7               Okay.

    8               MS. PARLOVECCHIO:      Your Honor, I'm sorry, just

    9   briefly.    As you mentioned last week, we had some law

   10   enforcement officers who are here from out of the country

   11   that we have to get on and off the stand today.          I think if

   12   we get them on by 2:30, we should be okay with that.           But I

   13   don't know what the timing is, and, of course, we'll have

   14   redirect, so...

   15               THE COURT:     Well, if we reconvene at 1:35, which

   16   will probably be closer to 1:40, and Mr. Lichtman has no

   17   more than half an hour and finishes at 2:10, redirect I

   18   expect won't take very long, and then we should be okay for

   19   2:30.    If that's not working out, then either for the

   20   redirect or the cross if it hasn't been finished, it will be

   21   interrupted.

   22               MR. BALAREZO:     Your Honor, I just had one brief

   23   thing that might be of help.        I'm going to ask the Court if

   24   the Court could perhaps mention to the court interpreters to

   25   try to interpret it as accurately as possible without adding



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  1    additional words, because I've noticed several instances

  2    words that did not come out of the witness's mouth were

  3    added to the answer.

  4               MR. LICHTMAN:     Judge, can we do that without the

  5    witness here?

  6               THE COURT:     Sure.   Let's have the marshal take the

  7    witness out, please.

  8               (The witness exits the stand.)

  9               THE COURT:     Okay.   I don't speak much Spanish, so

 10    I cannot compete with you, Mr. Balarezo.         But I will say

 11    there are a lot of figures of speak in the questions that I

 12    was thinking, Gee, I wonder how that translates in Spanish,

 13    that would be interesting to know?        There was a lot of that.

 14               There was also, as I pointed out to the witness,

 15    he's not really confining himself to yes-or-no answers.           So

 16    there is surplusage in there, and I think the interpreters

 17    are doing their best to give the meaning of both the

 18    questioner and the witness's intent.         But I will ask the

 19    interpreters to be extra careful.        Okay?

 20               MS. PARLOVECCHIO:      Your Honor, if I may be heard

 21    on this, Your Honor?

 22               MR. BALAREZO:     Well, I haven't finished.

 23               (Continued on next page.)

 24

 25



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  1                (In open court; jury not present.)

  2                MR. BALAREZO:     I will tell you specifics --

  3                MS. PARLOVECCHIO:      Judge, I need to be heard on

  4   this, Your Honor.

  5                MR. BALAREZO:     I haven't finished yet.

  6                THE COURT:    Why don't you wait until he says what he

  7   has to say.

  8                MS. PARLOVECCHIO:      Fair enough.

  9                MR. BALAREZO:     This is an innocuous example, but

 10   this is kind of what got me thinking about it.          The answer was

 11   by the witness, that he paid money, so in Spanish, "para que

 12   no me detuvieran," that's why I wouldn't be arrested, and the

 13   response that was translated was, "I wouldn't be arrested in

 14   Colombia."    I mean, I know it's just an addition of a word,

 15   but that should not be done.

 16                THE COURT:    If that happened, and I can't say

 17   whether it did or not, I agree that should not happen.

 18                MS. PARLOVECCHIO:      Your Honor --

 19                THE COURT:    Yes.

 20                MS. PARLOVECCHIO:      -- first, I would just like to

 21   note that -- I don't want to speak for the interpreters, of

 22   course, but Mr. Lichtman a few times was stepping on the

 23   interpreter's translation --

 24                THE COURT:    Absolutely.

 25                MS. PARLOVECCHIO:      -- which needs to stop.    It's


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  1   created a problem with them translating it, for the court

  2   reporter, for the record, okay, so that's number one.

  3               Number two, we had had a sidebar about this issue at

  4   the beginning of the trial, if you recall, and Mr. Balarezo

  5   made assertions about what the interpreters were and were not

  6   interpreting.     Subsequently, there was a conversation with the

  7   interpreters who are interpreting at defense table and they

  8   said that Mr. Balarezo's assertions were not correct, that the

  9   courtroom interpreters were spot on, so I just want to make a

 10   record.

 11               THE COURT:    There is plenty of room in a case like

 12   this for there to be either mishearing by Mr. Balarezo, who

 13   may have missed a little in the answer, or misinterpretation

 14   by the interpreters who have a huge volume to interpret.             I

 15   can't get to the bottom of that dispute.              As I said at

 16   sidebar, I would be shocked if any trial like this has a

 17   literally accurate 100 percent translation at the end of the

 18   day, so all I can do is tell everybody, listen carefully and

 19   ask the interpreters to continue to work hard, as they are

 20   doing, and doing the very best they can.              More than that, I

 21   can't do.

 22               MS. PARLOVECCHIO:      Thank you, Your Honor.

 23               MR. BALAREZO:     Your Honor, as I said, it's not an

 24   issue of the interpretation of the meaning of what's being

 25   said; it's the addition of words that are --


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  1               THE COURT:    I know, but you could easily miss those

  2   words "in Colombia."      The witness is not talking into the

  3   microphone because he is not speaking to you in Spanish; he is

  4   speaking to the interpreter who is standing right next to him,

  5   so those words may have been there.           I don't doubt for a

  6   minute that you didn't hear them, but they may have not been

  7   added by the interpreter.

  8               MR. BALAREZO:     I would just ask the Court to tell

  9   the witness to speak louder, because I'm --

 10               THE COURT:    No, no.     He is not supposed to be

 11   speaking to you in Spanish just because you know Spanish.             His

 12   is speaking to the interpreter who has taken an oath to

 13   translate as accurately as they can.

 14               MR. BALAREZO:     But he also should be heard, because

 15   my client, Mr. Guzman, is trying to listen to the witness

 16   also.   I think he has a right to hear what the witness is

 17   saying.

 18               THE COURT:    Of course he does.          And we've offered

 19   him, as he's doing right now as I look at him, simultaneous

 20   translation with an interpreter sitting next to him.             If he

 21   wants that, that's fine, but there's no reason for the witness

 22   to testify to the whole courtroom in Spanish since these

 23   proceedings are in English.        We will give Mr. Guzman whatever

 24   interpretive help he needs, including, as is happening right

 25   now, an interpreter sitting right next to him.


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  1               MR. BALAREZO:     Very well, Your Honor.

  2               THE COURT:    Okay.    12:35.

  3               (Lunch recess taken.)

  4               (Continued on the following page.)

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  1                     A F T E R N O O N         S E S S I O N

  2               (In open court; jury not present.)

  3               (Witness resumes the stand.)

  4               THE COURTROOM DEPUTY:        All rise.

  5               THE COURT:    Okay.    Let's have the jury, please.

  6               (Jury enters.)

  7               THE COURT:    All right.      Everyone be seated.

  8               Please continue, Mr. Lichtman.

  9               MR. LICHTMAN:     Thank you, Your Honor.

 10   CROSS-EXAMINATION

 11   BY MR. LICHTMAN: (Continued.)

 12   Q     Mr. Cifuentes, I'm going to show you some pictures, and

 13   if you can tell me if you recognize the individuals.

 14               The first one is Government's Exhibit 7.

 15               This can be published to the jury as well.

 16               (The above-referred to exhibit was published.)

 17   A     No, sir.

 18   Q     Government's Exhibit 6.

 19               (The above-referred to exhibit was published.)

 20   BY MR. LICHTMAN:

 21   Q     Do you recognize this man?

 22   A     No, sir.

 23               (The above-referred to exhibit was published.)

 24   BY MR. LICHTMAN:

 25   Q     Government's Exhibit 10, do you recognize this man?


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  1   A     Mayo Zambada.    He looks like Mayo Zambada to me.

  2   Q     You're not sure, though, are you?

  3   A     No.    No, I'm not.

  4   Q     Government's Exhibit 4?

  5                (The above-referred to exhibit was published.)

  6   A     No, sir, I don't know him.

  7   Q     By the way, you spend a lot of time with Mayo Zambada,

  8   correct?

  9   A     Yes, sir, that's correct.

 10   Q     Government's Exhibit 5?

 11                (The above-referred to exhibit was published.)

 12   A     No, sir, I don't know him.

 13   Q     Government's Exhibit 99?

 14                (The above-referred to exhibit was published.)

 15   BY MR. LICHTMAN:

 16   Q     Do you recognize this man?

 17   A     No, sir, I don't know him.

 18                (The above-referred to exhibit was published.)

 19   BY MR. LICHTMAN:

 20   Q     And Government's Exhibit 8, do you recognize this man?

 21   A     No, sir.

 22   Q     Thank you.

 23                If I can just go into one thing that you mentioned

 24   on direct.    You talked about the purchase of drugs with debit

 25   cards.


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  1   A     Yes, sir.

  2   Q     And you were paying for the drugs with money that was on

  3   debit cards?

  4   A     The system of credit card -- credit cards is to bring

  5   down the money, and once we have the money in cash, in pesos,

  6   we purchase the cocaine.

  7   Q     But you put the money, the cash, you purchased the debit

  8   cards with that cash?

  9   A     Money is taken in cash, right, the dollars, and they --

 10   it is transferred by wire transfer through Monedeux.

 11               THE INTERPRETER:     That's M-O-N-E-D-E-U-X.

 12   BY MR. LICHTMAN:

 13   Q     And then the Monedeux, is that debit cards?

 14   A     And then Monedeux delivers to us the debit cards, the

 15   physical debit cards; and at the ATM you can withdraw the

 16   money in Colombian pesos.

 17   Q     Some of your drug transactions were millions and millions

 18   of dollars, correct, some of your drug purchases?

 19   A     Yes, sir.    Don Joaquin gave me more than $15 million for

 20   the purchase of drugs, and --

 21   Q     So $15 million was put onto debits cards; is that what

 22   your testimony is?

 23   A     I was telling you that there were three different ways of

 24   doing it --

 25   Q     I'm just -- if I can interrupt.          I'm just asking about


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  1   the debit cards.

  2   A     No, sir, through the credit cards, we move approximately

  3   $15 million -- debit cards.

  4   Q     So you put $15 million on debit cards?

  5   A     Juan Pablo Londono did it through Monedeux, and the other

  6   gentleman who did the same thing who went by the name Juanes,

  7   who were Juan Ramon Zapata, and between those two groups, they

  8   moved approximately $20 million.

  9   Q     In debit cards?

 10   A     Yes, sir, through the system of debit cards.

 11   Q     That's a lot of debit cards, wouldn't you say?

 12   A     They would give us 400 to 500 debit cards each time and

 13   each card can be reloaded up to $30,000 a year per card.

 14   Q     For a year.

 15   A     (No verbal response.)

 16   Q     You testified last week about the --

 17   A     Yes, correct.

 18   Q     -- about a fraud you committed in connection with the

 19   D-I-A-N, DIAN, the Colombian Internal Revenue Service?

 20   A     With the DIAN, yes, sir, that's correct.

 21   Q     You testified you had sold the property in Medellin that

 22   triggered a $2.2 million tax bill?

 23   A     Yes, sir, that's correct.

 24   Q     And this property was all bought with drug money?

 25   A     Yes, sir, that's correct.


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  1   Q     And this real estate transaction was with a Colombian

  2   university?

  3   A     Yes, sir, that's correct.

  4   Q     And as you said last week, you set up a fake transaction

  5   to avoid owing the taxes?

  6   A     That's correct, yes, sir.

  7   Q     And you made it seem as if the property had been sold to

  8   someone else and not you?

  9   A     The property was under my name and I sold it to a company

 10   that also belongs to me.

 11   Q     So you set up a sham transaction?

 12   A     Yes, sir, a simulation.

 13   Q     But, in fact, you didn't mention last week that the

 14   scheme didn't work and that the creation of the fake

 15   transaction, you actually were caught; they figured it out?

 16   A     Yes, sir.    There was an anonymous person who reported the

 17   transaction.    Meaning a written paper written anonymously

 18   arrived to DIAN denouncing that the transaction was a fraud.

 19   Q     But that didn't stop you from getting away with paying

 20   the tax that you owed, did it?

 21   A     That's correct.

 22   Q     Instead, your second plan was to bribe a Colombian tax

 23   official to make the tax bill go away, correct?

 24   A     Yes, sir, that's correct.

 25   Q     And you corrupted bank employees, too?


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  1   A     Yes, sir.    Yes, sir, that's correct.

  2   Q     You paid them off to let you open accounts in fake names?

  3   A     Yes, sir, that's correct.

  4   Q     And they would even ensure that the money that you were

  5   receiving wasn't traced or questioned by the Government before

  6   putting it into your account; isn't that true?

  7   A     Yes, sir, that's correct.

  8   Q     Do you recall that you signed the cooperation agreement

  9   in this case in March of 2015?

 10   A     Yes, sir.

 11   Q     And included in that cooperation agreement was a

 12   forfeiture agreement as well, correct?

 13   A     I don't understand.     Can you repeat that, please?

 14   Q     Part of the cooperation agreement included a forfeiture

 15   agreement, correct?

 16   A     Yes, sir, that is correct.

 17   Q     In September of 2011, you're aware that the Colombian

 18   government seized 301 assets in Colombia from your drug

 19   trafficking organization?

 20   A     Yes, sir, that is correct.

 21   Q     And these seizures were done with the assistance of the

 22   DEA in Bogota?

 23   A     I don't know, sir.

 24   Q     Well, according to the Government, if you know, those

 25   seized assets had a value of approximately 250 million?


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  1   A     Yes, sir.

  2   Q     And you're aware that in June of 2012, an additional 15

  3   million in assets were seized from your drug trafficking

  4   organization.

  5   A     Where?    Excuse me?

  6   Q     From Colombia.

  7   A     Yes, sir.

  8   Q     And this included properties, cars, businesses?

  9   A     Yes, sir, that's correct.

 10   Q     And that brought the total value of assets seized in

 11   Colombia from your drug trafficking organization to

 12   approximately 265 million?

 13                THE INTERPRETER:      Interpreter's correction.    Was it

 14   $265 million?

 15                MR. LICHTMAN:     Yes.

 16   A     Yes, sir.

 17   Q     But according to you, you believe that the value of these

 18   properties is closer to a hundred million; isn't that true?

 19   A     That's correct, yes, sir.

 20   Q     So you think that the Government's valuation is

 21   incorrect?

 22   A     Many years have gone by and the value of the properties

 23   has gone up, yes, sir.

 24   Q     Well, do you think -- you told the Government that

 25   they're worth only a hundred million now, correct?


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  1   A     That was my opinion, yes, sir.

  2   Q     And the Colombian government holds these assets, whether

  3   it's 265 million or a hundred million dollars' worth, correct?

  4   A     Yes, sir, that's correct.

  5   Q     And you bribed people in the Colombian government,

  6   haven't you?

  7   A     The DIAN officer, yes, sir.        Are you speaking -- excuse

  8   me -- about something specific?

  9   Q     Sir, my question is:      You don't believe that the

 10   Colombian government is an honest government in your

 11   experience, is it?

 12               MR. FELS:    Objection, Your Honor.

 13               THE COURT:    Sustained.

 14   BY MR. LICHTMAN:

 15   Q     In 2012, the Americans seized about 12 million in cash

 16   and property from you in Florida?

 17   A     Yes, sir.

 18   Q     And this is from bank accounts, as well as a $1.3 million

 19   property in Miami?

 20   A     Yes, sir.

 21   Q     And this was before you even were extradited to America,

 22   correct?

 23   A     I don't understand.

 24   Q     The seizure by the Americans of this $12 million of cash

 25   and property in 2012, that occurred before you were extradited


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  1   to America.

  2   A      No, sir.    I was notified before, but I signed a

  3   documentation where I signed away my interests while I was

  4   already here in the United States.

  5   Q      And in June of 2013, the IRS seized another 101,000 in

  6   cash from your bank accounts in Florida?

  7   A      Yes, sir.

  8   Q      And this occurred in June of 2013 before you began

  9   cooperating with the Government?

 10   A      June 2013, I am -- no, sir.

 11   Q      Were you cooperating already by June of 2013 with the

 12   Americans?

 13   A      No, sir.    I had not been extradited to the United States

 14   yet.

 15   Q      Right.   And you just answered that the IRS seized another

 16   101,000 in June of 2013?

 17                THE COURT:    Mr. Lichtman, "seized" is a potential

 18   term of art, do you understand?

 19                MR. LICHTMAN:     Yes, Judge.

 20                THE COURT:    Okay.    He may be thinking something

 21   other than what you're thinking.

 22                MR. LICHTMAN:     Understood.       I'll move on.   Not

 23   important.

 24   BY MR. LICHTMAN:

 25   Q      You signed the cooperation agreement, as you said, in


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  1   March of 2015?

  2   A     Yes, sir.

  3   Q     Do you recognize this as your cooperation agreement?

  4   A     Can you read it for me?

  5                THE INTERPRETER:      He's asking the interpreter.

  6                MR. LICHTMAN:     It's Government's Exhibit 1?

  7                Judge, this is already in evidence as 3500 JMCV-4.

  8                THE COURT:    All right.      Will the Government

  9   stipulate for the benefit of the witness that this is his

 10   cooperation agreement?

 11                MR. FELS:    Yes, Your Honor.

 12                THE COURT:    Okay.    This is your cooperation

 13   agreement.

 14                Go ahead, Mr. Lichtman.

 15                (The above-referred to exhibit was published.)

 16   BY MR. LICHTMAN:

 17   Q     Sir, that's your signature at the end of it?

 18   A     Yes, sir.

 19   Q     You obviously read this carefully before you signed it?

 20   A     Yes, sir, that's correct.

 21   Q     And contained within the cooperation agreement was a

 22   consent preliminary order of forfeiture money judgment?

 23   A     Yes, sir.    Yes, sir.

 24   Q     And that's what this is that I'm showing to the jury and

 25   you right now?


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  1   A     Is this the same paper that you had put up, or is this a

  2   new one?

  3               MR. FELS:    Your Honor, we will stipulate that it's

  4   the same document.

  5               THE COURT:    Okay.   All right.         So the witness is

  6   advised that this is what Mr. Lichtman says it is.

  7               THE WITNESS:    Okay.

  8   BY MR. LICHTMAN:

  9   Q     And this is your signature at the end of it?

 10   A     Yes, sir, that's correct.

 11   Q     And pursuant to that order of forfeiture as part of your

 12   cooperation, you agreed to give up $150 million to the

 13   Government?

 14   A     Yes, sir, that's correct.

 15   Q     And it was through a $150 million judgment against you,

 16   correct?

 17   A     Yes, sir, that's correct.

 18   Q     And within that forfeiture agreement was even an address

 19   for you to mail the check for $150 million to the Government,

 20   correct?

 21               Pardon my bracket here.

 22   A     Yes, sir.

 23   Q     But you aren't paying $150 million to the Government any

 24   time soon after you signed this, are you?

 25   A     No, sir.    I don't have the money.


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  1   Q      You described it as an IOU on direct, correct?

  2   A      Yes, sir, that's correct.

  3   Q      The fact is you haven't given the Government a penny

  4   since you were brought here and began cooperating, correct?

  5                MR. FELS:    Objection.     Mischaracterizes the prior

  6   testimony.

  7                THE COURT:    Well, I will let the witness answer.

  8   A      Can you repeat the question?

  9   Q      You have not -- since you have been cooperating -- when

 10   did you start cooperating?

 11   A      When I arrived here in the United States.         The first

 12   meeting was at the beginning of 2014.

 13   Q      Since the beginning of 2014 until today, you haven't

 14   given the Government a penny towards this $150 million, have

 15   you?

 16   A      No, sir, I have not paid it.

 17   Q      And you don't ever anticipate paying that $150 million

 18   off, do you, any of it?

 19   A      I don't have money, sir.

 20   Q      You claim that you provided to the Government all the

 21   information and coordinates of your assets, correct?

 22   A      Yes, sir.

 23   Q      What do you mean by coordinates?          You mean locations?

 24   A      Yes, sir, the locations.

 25   Q      And all the information of your bank accounts you


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  1   provided?

  2   A     Yes, sir.

  3   Q     And those accounts are located all over the world?

  4   A     Yes, sir.

  5   Q     And some of the properties that you own are not even in

  6   your name, correct?

  7   A     That's correct, yes, sir.

  8   Q     For example, there's property in a town named La Pesca in

  9   the state of Tamaulipas in Mexico.

 10   A     That's correct, yes, sir.

 11   Q     You paid for it with drug proceeds?

 12   A     Yes, sir.

 13   Q     Put it in someone else's name?

 14   A     Yes, sir, that's correct.

 15   Q     Whose name?

 16   A     Almada.    I don't remember the last name.

 17   Q     How much did the property cost?

 18   A     At that time, about $200,000, but today, it might be --

 19   it might cost $2 million.

 20   Q     And you don't know the name of the person who technically

 21   owns the property, do you?

 22   A     No, sir.

 23   Q     So you were unable to give the name of the person who

 24   owns it to the Government, correct?

 25   A     No, but I did give the information of who had possession


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  1   of the assets -- the properties.

  2   Q       You just said that you didn't know the person's name.

  3   How could you have given them the name if you don't know the

  4   name?

  5   A       One thing is who has their name on the paperwork, and the

  6   other one is who has -- who is holding physically the

  7   property.

  8   Q       Are you aware if the Government has seized and liquidated

  9   that property on behalf of the money that you owe them?

 10   A       I don't know how that works, sir.

 11   Q       You also moved tens of millions of dollars through Swiss

 12   bank accounts, correct?

 13   A       Yes, sir, that's correct.

 14   Q       Those Swiss bank accounts, they weren't in your name,

 15   were they?

 16   A       Some were and some were not.

 17   Q       Did you provide the names of those who the accounts were

 18   not in with the Government?

 19   A       Yes, sir, that's correct.

 20   Q       Did you provide account statements to the Government?

 21   A       No, sir.

 22   Q       How do we know that you don't have other accounts that

 23   you didn't provide to the Government?

 24   A       Because I don't have any others.

 25   Q       But we are forced to trust your word that there are no


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  1   other Swiss accounts in straw men names?

  2   A     Yes, sir, because I am telling the truth.

  3   Q     Because you would never lie, correct?

  4   A     Here, I would not lie.

  5   Q     And as you said, you rarely lied in your day-to-day drug

  6   trafficking days.

  7   A     That's correct, yes, sir.

  8   Q     But you would agree that you are somewhat -- and I use

  9   this politely -- a devious man.

 10               MR. FELS:    Objection, Your Honor.

 11               THE COURT:    Sustained.

 12   BY MR. LICHTMAN:

 13   Q     In fact, you once tried to send drugs to Holland in loads

 14   of flowers, didn't you?

 15   A     Yes, sir, that's correct.

 16   Q     And you testified on direct the other day that you

 17   suffered many financial losses learning how to run legitimate

 18   businesses, correct?

 19   A     That's correct, yes, sir.

 20   Q     And since these were legitimate businesses, I assume you

 21   have financial records for them.

 22   A     Yes, sir, that's true.

 23   Q     And you provided them all to the Government, I'm certain,

 24   correct?

 25   A     Yes, sir.    My attorney took care of that.


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  1               MR. LICHTMAN:     Judge, I would ask for the production

  2   of these financial records which we have not seen.

  3               THE COURT:    I will take it under advisement.

  4               MR. LICHTMAN:     Thank you.

  5   BY MR. LICHTMAN:

  6   Q     Are you certain that, in fact, those financial records

  7   from your so-called legitimate businesses have been turned

  8   over to the Government?

  9   A     Yes, sir.

 10   Q     Well, how did you prove that you lost money in these

 11   legitimate businesses?      How did you prove that to the

 12   Government?

 13   A     No, sir.

 14   Q     You didn't go through these financial records and prove

 15   to the Government that you had financial losses in connection

 16   with these so-called legitimate businesses of yours, did you?

 17   A     No, sir.    The businesses had profit and earnings, but

 18   that's once I learned how to do business.             In the '90s, when I

 19   started to set up companies, that was when I lost money.            For

 20   example, during time-share hotels --

 21   Q     Excuse me, sir?

 22   A     -- I lost $20 million.

 23   Q     You lost $20 million, okay.

 24               Did you show the Government with the financial

 25   records that you claim you turned over the $20 million loss?


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  1   A     The hotel was bought by Hotel Capital Bioni and -- so it

  2   was International Vacation Club.           It was sold to Capital Hotel

  3   who belonged to Londono Bioni.

  4   Q     Sir, I'm going to ask this question, and I'm going to

  5   break it down a little for you.

  6                 You claim that you lost $20 million in connection

  7   with this legitimate hotel business, correct?

  8   A     Several hotels, yes.

  9   Q     Several hotels.

 10                 And $20 million is a lot of pesos, correct?

 11   A     Yes, sir, that's correct.

 12   Q     You told the Government that you lost $20 million,

 13   correct?    "Yes" or "no" question.

 14   A     No, sir.    I told them that I had lost approximately a

 15   hundred million dollars.

 16   Q     You lost a hundred million dollars in connection with

 17   these various hotels, correct?

 18   A     No, sir.    With the hotels, it was 20.          The other -- the

 19   rest was with other businesses.

 20   Q     Okay.    So you lost $20 million in connection with hotels

 21   and another 80 million in connection with other legitimate

 22   businesses, you claim.

 23   A     That's correct, yes, sir.

 24   Q     So now we're up to a hundred million dollars --

 25                 THE COURT:    Mr. Lichtman.      Mr. Lichtman.   You are


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  1   beyond the time that you previously said you would be.

  2                MR. LICHTMAN:     Judge, I'm aware.       I'm near the end.

  3                THE COURT:    Well, are you five minutes from the end,

  4   because if you're not, then we have out of turn witnesses to

  5   take.

  6                MR. LICHTMAN:     Judge, you will tell me when to stop,

  7   I will let you know exactly how much I have left, and I'm

  8   prepared to allow them to put on law enforcement witnesses.

  9                THE COURT:    You have five minutes and then we'll

 10   break.

 11   BY MR. LICHTMAN:

 12   Q       You claim you lost a hundred million dollars in the

 13   legitimate businesses, correct?

 14   A       Yes, sir, that's correct.

 15   Q       You told the Government that, correct?

 16   A       Yes, sir, that's correct.

 17   Q       Did you prove to the Government that with financial

 18   records?

 19   A       No, sir.

 20   Q       Were you ever required by these prosecutors to fill out a

 21   financial statement?

 22   A       Yes, sir.

 23   Q       You filled out a financial statement?

 24   A       I sent financial reports.       I don't know whether they

 25   speak about the same -- whether you are speaking about the


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  1   same thing.

  2               MR. LICHTMAN:     Judge, I would call, then, for the

  3   production of financial reports.

  4               THE COURT:    If you have things you want, we will

  5   talk about that during a recess or at sidebar.

  6               MR. LICHTMAN:     Thank you.

  7   BY MR. LICHTMAN:

  8   Q     Now, on direct examination, you explained the accounting

  9   records from drug transactions.          Did you explain those during

 10   direct?

 11   A     Yes, sir, that's correct.

 12   Q     And you had these records and you explained which showed

 13   great detail of your drug-dealing expenses, correct?

 14   A     That's correct, yes, sir.

 15   Q     The Government asked you to explain those financial

 16   records, correct?

 17   A     That's correct, yes, sir.

 18   Q     But you weren't asked to explain any financial records

 19   that showed your hundred million dollars of legitimate

 20   business losses.

 21   A     There's no accounting records of that money, so they have

 22   not asked me to explain any of that.

 23   Q     You testified on Thursday that you committed an insurance

 24   fraud when you rolled a helicopter off the side of a cliff?

 25   A     Yes, sir.


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  1   Q     And you blamed it on Mr. Guzman.

  2   A     He gave me the money for that, sir.

  3   Q     You claimed that you gifted him this helicopter?

  4   A     Yes, sir, I did, but he did not pay the insurance.

  5   Q     Where are the records to support that purchase of that

  6   helicopter?

  7   A     It is a Mexican -- a company called Iado Futuro.          I don't

  8   know where they are.

  9   Q     Did you tell that to the Government?

 10   A     Yes, sir.    In fact, I gave the information of the Mexican

 11   office, and I gave them also the information of Pilar Tamez

 12   who --

 13               THE INTERPRETER:     T-A-M-E-Z, by interpreter.

 14   A     -- Pilar Tamez, who was my assistant in Mexico.

 15   Q     Did they show you those financial records that revealed

 16   your purchase of that helicopter?

 17   A     No, sir.

 18   Q     Did they show you insurance records from the company that

 19   made the payout for the insurance fraud that you committed?

 20   A     No, sir, they did not.

 21   Q     We have to rely on your word on this topic, don't we?

 22   A     Yes, sir, that's correct.

 23   Q     Just the way we needed to rely on your word with

 24   Mr. Guzman as on that tape with the FARC representative,

 25   correct?


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  1   A     Yes, sir.

  2                THE COURT:    Mr. Lichtman, we are going to have to

  3   break.

  4                MR. LICHTMAN:     Can I ask one more question before

  5   the break?

  6                THE COURT:    Yes.

  7   BY MR. LICHTMAN:

  8   Q     Are you aware, sir, if you know, that not a single penny

  9   of drug proceeds has been found of Chapo Guzman's?

 10                MR. FELS:    Objection.

 11   BY MR. LICHTMAN:

 12   Q     If you know.

 13                THE COURT:    Sustained.

 14                Okay.   Ladies and gentlemen, we need to reorganize

 15   the courtroom again.       If you would just wait in the hall for

 16   about 90 seconds, we will bring you right back out.

 17                (Jury exits.)

 18                THE COURT:    All right.      Everyone be seated.

 19                Marshals may take the witness out.          The Government

 20   may get its new witness in.

 21                (Witness excused.)

 22                THE COURT:    Okay.    Let's have the jury back.

 23                (Jury enters.)

 24                THE COURT:    Everyone be seated.         Ladies and

 25   gentlemen, we are going to interrupt the cross-examination of


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  1   the last witness for scheduling reasons, so we are going to

  2   put that off to the side for a moment, and the Government is

  3   going to call its next witness.

  4                MR. NARDOZZI:     Thank you, Your Honor.       The

  5   Government calls Pablo Unda Cusin.

  6                THE COURTROOM DEPUTY:        Please stand and raise your

  7   right hand.

  8                (Witness sworn.)

  9                THE WITNESS:     Yes, I swear.

 10                THE COURTROOM DEPUTY:        Please state and spell your

 11   name for the record.

 12                THE WITNESS:     Pablo Enrique Unda Cusin.

 13                THE COURTROOM DEPUTY:        Spell that, please.

 14                THE WITNESS:     P-A-B-L-O E-N-R-I-Q-U-E U-N-D-A

 15   C-U-S-I-N.

 16                THE COURTROOM DEPUTY:        Thank you.     You may be

 17   seated.

 18                THE COURT:    All right.      You may inquire.

 19                MR. NARDOZZI:     Thank you, Your Honor.

 20   P A B L O    E N R I Q U E      U N D A     C U S I N,

 21                called as a witness, having been first duly

 22                sworn/affirmed, was examined and testified as

 23                follows:

 24

 25


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                         Unda Cusin - direct - Nardozzi                   3303


  1   DIRECT EXAMINATION

  2   BY MR. NARDOZZI:

  3   Q     Good afternoon, sir.      How are you today?

  4   A     Fine.

  5   Q     Sir, can you tell the ladies and gentlemen of the jury

  6   where you work?

  7   A     I work for the Ecuadorian National Police.

  8   Q     And what is your job title there?

  9   A     Antinarcotics agent.

 10   Q     How long have you worked for the Ecuadorian National

 11   Police?

 12   A     Sixteen years and six months.

 13   Q     And how much of that time have you spent in the

 14   Antinarcotics Unit?

 15   A     Sixteen years.

 16   Q     Can you tell us briefly any special training that you've

 17   received as a result of working in the Antinarcotics Unit?

 18   A     The basic antidrug course.

 19   Q     What does that entail, sir?

 20   A     Two months and some days of several topics like

 21   surveillance, security, follow up, and other basic techniques

 22   for drug control.

 23   Q     And can you tell the ladies and gentlemen of the jury

 24   what your basic responsibilities and duties are as

 25   antinarcotics officer of the Ecuadorian National Police?


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                          Unda Cusin - direct - Nardozzi                   3304


  1   A     The constant daily battle against the sale and

  2   distribution of drugs and illegal activities connected to this

  3   crime.

  4   Q     Okay.    Sir, I want to direct your attention to the date

  5   of October 1st, 2009.

  6                 Were you working as a member of the Antinarcotics

  7   Unit of the Ecuadorian National Police at that time?

  8   A     Yes.

  9   Q     And what was your duty on that date?

 10   A     Interception of operation together with the antinarcotic

 11   group in the El Reventador sector.

 12   Q     What was the nature of that operation?         What were you

 13   doing specifically?

 14   A     Antinarcotic operations are carried out every day at that

 15   time under orders of the chief of the unit at that time.

 16   Q     Okay.    What kind of a patrol were you on that day?

 17   A     I don't understand.

 18   Q     Okay.    Were you walking the streets as a beat cop?        Were

 19   you doing something else?       What specifically were you doing

 20   that day?

 21   A     That day I was verifying vehicles, checking out the

 22   vehicles that were going by in the direction Lago Agrio,

 23   Quito.

 24   Q     Sir, I'm going to show you what I marked for

 25   identification as Government's Exhibit 506-24.


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                          Unda Cusin - direct - Nardozzi                  3305


  1                 MR. PURPURA:     No objection.

  2                 THE COURT:    All right.      That's received.

  3                 (Government's Exhibit 506-24 received in evidence.)

  4                 MR. NARDOZZI:     Your Honor, defense counsel was kind

  5   enough to agree not to object to any of the photographs that

  6   are going to come in, so I will just move them in as I put

  7   them on the screen, if that's okay with the Court.

  8                 THE COURT:    Okay.

  9   BY MR. NARDOZZI:

 10   Q     Sir, taking a look at this, can you tell us what this is?

 11   A     It's a map of Ecuador.

 12   Q     Okay.    And using your finger on the screen, can you

 13   indicate for the ladies and gentlemen of the jury where it is,

 14   generally, you were working that day?

 15   A     Yes, in this area here (indicating).

 16   Q     Okay.    Sir, let me just clear it because it looks like

 17   there's a couple of marks.          Can you try that again?

 18   A     (Indicating.)

 19   Q     Very good.    Thank you.

 20                 Sir, can you tell us, did anything happen on that

 21   date that brings you here to court to testify?

 22   A     Yes, that's right.

 23   Q     Okay.    What happened that day?

 24   A     While we were carrying out the operation of road

 25   interdiction, we received an order from my superior mayor --


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                                    Official Court Reporter
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                         Unda Cusin - direct - Nardozzi                   3306


  1   Major Oscar Cavella to return back to our base to the unit to

  2   rest without any -- we hadn't had any results of our operation

  3   by that point.

  4               (Continued on the following page.)

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                              Denise Parisi, RPR, CRR
                                 Official Court Reporter
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                         Unda Cusin - direct - Nardozzi                   3307


  1   DIRECT EXAMINATION

  2   BY MR. NARDOZZI: (Continued.)

  3   Q     What happened next?

  4   A     And about three to five minutes into our return we

  5   noticed the presence of two vehicles.

  6   Q     Can you describe these vehicles?

  7   A     A white truck and a red car.

  8   Q     What was it about the white truck and the red car that

  9   caught your attention?

 10   A     That they suddenly did a U-turn.

 11   Q     And what did you do as a result?

 12   A     We approached -- I was driving and so we approached the

 13   truck to indicate that it should pull over.

 14   Q     Okay, I'm going to show you what's marked and seek to

 15   move into evidence, Government Exhibit 209-2.

 16                THE COURT:   Received.

 17                (Government's Exhibit 209-2 was received in

 18   evidence.)

 19                (Exhibit published.)

 20   BY MR. NARDOZZI:

 21   Q     Can you tell us what this is, sir?

 22   A     This is the truck.

 23   Q     This is the truck you saw that day?

 24   A     Yes.

 25                MR. NARDOZZI:   I'll seek to move Government's


                          Georgette K. Betts, RPR, CSR, FCRR
                                Official Court Reporter
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                         Unda Cusin - direct - Nardozzi                   3308


  1   Exhibit 209-1.

  2                THE COURT:   Received.

  3                (Government's Exhibit 209-1 was received in

  4   evidence.)

  5                (Exhibit published.)

  6   BY MR. NARDOZZI:

  7   Q     Sir, can you tell us what this is?

  8   A     It was the red vehicle.

  9   Q     As you approached the truck, what happened?

 10   A     The vehicle, after they turned suddenly, it left that

 11   location speedily towards Lago Agrio.

 12   Q     Which one of vehicles left the location?

 13   A     The red vehicle, the automobile.

 14   Q     What did you do as a result of the red vehicle fleeing

 15   the location?

 16   A     I called over the central radio to tell them that police

 17   units belonging to the rural service who should proceed to

 18   locate that vehicle.

 19   Q     Did you provide a description of the vehicle as well?

 20   A     Yes, I described the details, that it was a vehicle, an

 21   automobile that was a red Toyota --

 22   Q     What happened?

 23   A     -- without license plates.

 24   Q     Very good, thank you.

 25                What happened to the white vehicle indicated shown


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                                Official Court Reporter
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                         Unda Cusin - direct - Nardozzi                   3309


  1   in Government Exhibit 209-2?

  2   A     At the moment that it was indicated to it to pull over on

  3   the right side, we were able to see that there were two

  4   people, they wore military uniforms.         As we were getting out

  5   of our vehicle one of them got out of that vehicle,

  6   specifically the passenger, and went on to run off into the

  7   jungle that surrounds that area.

  8   Q     What happened next?

  9   A     For these reasons we indicated to the driver to get off

 10   the vehicle and we realized that the doors had on them logos

 11   for the Ecuadorian army.

 12   Q     Can you indicate on the screen, if you see it, where

 13   those logos are.

 14   A     Here.(indicating)

 15   Q     So that circle, the red, blue and yellow concentric

 16   circle, that's an Ecuadorian military logo?

 17   A     That's right.

 18   Q     What did you do next?

 19   A     When the driver got out and we did a search we found a

 20   firearm under the driver's seat Beretta brand with the

 21   ammunition and the magazine.       I don't remember the amount.

 22   Q     Did you find anything else in the vehicle?

 23   A     Also a document, a vehicle identification document that

 24   contained features that were similar to that truck.           And also

 25   vehicle identification plates that were civil.


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                                Official Court Reporter
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                         Unda Cusin - direct - Nardozzi                   3310


  1   Q     Like a civilian plate for just a regular person who is

  2   not in the military?

  3   A     Yes, the plate belonged to a civilian vehicle, it was not

  4   a state plate.

  5   Q     What plates were affixed to the outside of the vehicle?

  6   A     They were yellow state plates --

  7   Q     When you say state?

  8   A     -- apparently.

  9   Q     When you say state, what do you mean by that?

 10   A     Meaning that it belonged to the Ecuadorian army.

 11   Q     Okay.   Did you make any other observations about the

 12   vehicle at that time?

 13   A     At that time we realized that the back tires were low,

 14   which it appeared that it was loaded up.         So when we went on

 15   to search it, the back part of the truck.

 16   Q     Can you indicate the part you went to search on the

 17   picture?

 18   A     All of this.(indicating)

 19   Q     When you looked inside the back and the door, what did

 20   you find?

 21   A     It was empty.

 22   Q     So it looked like it was weighted but the truck appeared

 23   empty, what did you think of this?

 24   A     What we started to do was to search the sidewalls and the

 25   top wall and we found that the existence of compartments


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                         Unda Cusin - direct - Nardozzi                   3311


  1   inside those walls.

  2   Q     How did you find that?

  3   A     The walls were very wide, excessively so.

  4   Q     So what did you do as a result?

  5   A     At that time my lieutenant Santacruz Angel, asked Luis

  6   Jimenez, my second, who was a canine guy, he asked them to do

  7   a search with the canine.       His name was Zeus.

  8   Q     Go ahead.

  9   A     And this produced a positive signal on the walls of the

 10   truck.

 11   Q     When you say "canine," you're talking about a

 12   drug-sniffing dog, right?

 13   A     That's right.

 14   Q     So what did you do next?

 15   A     At the time when the dog gave a positive signal, I took a

 16   screwdriver and I made a small opening on the truck and this

 17   allowed me to observe that inside there was a package that was

 18   wrapped up with tan colored tape.        So I indicated to my

 19   lieutenant, Santacruz, and he communicated to his superiors

 20   and to the authorities of this proceeding.

 21   Q     When you say you looked inside, are we talking about

 22   inside the walls of the vehicle?

 23   A     That's right.

 24   Q     What did you do next?

 25   A     At that point I heard on the radio my Lieutenant Alvarez,


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                         Unda Cusin - direct - Nardozzi                   3312


  1   who was in charge of the sector, of that sector for the rural

  2   police service, he indicated at that moment they had located

  3   the red vehicle.

  4   Q     All right.    As a result of this, what did you do?

  5   A     At that moment we decided to go down to, like go on to

  6   the location where the other vehicle was located.

  7   Q     How long did it take you to get there?

  8   A     Between 15 and 20 minutes approximately.

  9   Q     What did you see when you arrived?

 10   A     A red vehicle that was the same one that had been seen at

 11   the moment when we intercepted the truck.

 12   Q     Showing you again Government Exhibit 209-1, is this that

 13   vehicle?

 14   A     Yes.

 15   Q     What else did you see when you arrived?

 16   A     The vehicle was being guarded by police officers and its

 17   three occupants were outside of the vehicle.

 18   Q     Who were those three occupants?

 19   A     I don't recall their names that well, but among them was

 20   Telmo Castro, Mr. Telmo Castro.

 21   Q     I'm going to show you what's marked as Government

 22   Exhibit 209-3 and seek to move that in without objection.

 23                THE COURT:   Received.

 24                (Government's Exhibit 209-3 was received in

 25   evidence.)


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                                Official Court Reporter
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                         Unda Cusin - direct - Nardozzi                   3313


  1   Q     Do you recognize these individuals, sir?

  2   A     Four of them.

  3   Q     A moment ago you mentioned someone by the name of Telmo

  4   Castro, do you recognize him in this photograph?

  5   A     Yes.

  6   Q     Can you circle his head for us.

  7   A     (Witness complies.)

  8   Q     You were present on scene with Telmo Castro who's in

  9   custody, did you have an opportunity to talk to him or hear

 10   him speak in your presence?

 11   A     Yes.

 12   Q     What, if anything, did Telmo say?

 13   A     What he said at the time when we were in presence of the

 14   Lieutenant Angel Santacruz and commander Oscar Gavela, he

 15   spoke about information in relation with substances in other

 16   cities.

 17   Q     Do you recall what cities?

 18   A     Quito.

 19   Q     How about the white truck, did you see the white truck

 20   again that day?

 21   A     Yes.

 22   Q     Where did you next see the white truck?

 23   A     When we were at the place where Telmo Castro had already

 24   been detained with the other two occupants, then the truck

 25   arrived being guarded by my colleagues, and we all went on a


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                                Official Court Reporter
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                         Unda Cusin - direct - Nardozzi                   3314


  1   convoy to the anti-narcotics unit.

  2   Q     With the truck?

  3   A     With the truck.

  4   Q     And what happened at the anti-narcotics unit with the

  5   truck?

  6   A     Once there in the presence of the authorities, the

  7   prosecutor who was on duty, and the judge on duty we proceeded

  8   to search the vehicles completely.

  9   Q     In what area of the vehicle did you search specifically?

 10   A     When it comes to the truck the entire box of the truck

 11   from which we proceeded to remove 492 packages.

 12   Q     What shape were those packages in?

 13               THE INTERPRETER:     Can you repeat the question for

 14   the interpreter.

 15   Q     What shape were those packages?

 16   A     Like bricks which contained a white substance, which is

 17   why we proceeded to conduct the field test in the presence of

 18   the gentlemen who had been detained and the authorities, which

 19   turned out positive for cocaine with a total weight, gross

 20   weight of 539,232 grams.

 21   Q     Do you know what that is in kilograms?

 22   A     Half a ton, a little more than a half of a ton.

 23   Q     I think we converted it to the English system there.

 24               Do you know what 539,000 grams is in kilograms?

 25   A     No, no, I don't understand.


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                                Official Court Reporter
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                            Unda Cusin - direct - Nardozzi                3315


  1   Q       Okay, I'll move on.

  2                Before we talk about the weight of the drugs, I have

  3   209-2 on the screen.        Can you tell us, if you can see in this

  4   picture, where the drugs were recovered from?

  5   A       From this side here, from this part here.(indicating)

  6   Q       And that white area up here that you've put this red mark

  7   on it, I'll put a mark on it right now, that's the outside

  8   wall of the truck; is that correct?

  9   A       Yes, this one here, yes --

 10   Q       Sir --

 11   A       -- and the top part also.

 12   Q       Understood.

 13                Sir, I want to show you what's marked as Government

 14   Exhibit 209-42 and I'd seek to move this into evidence at this

 15   time without objection.

 16                THE COURT:     Received.

 17                (Government's Exhibit 209-42 was received in

 18   evidence.)

 19                (Exhibit published.)

 20   BY MR. NARDOZZI:

 21   Q       Sir, can you tell us what this is?

 22   A       Those are all the packages that were removed from the

 23   lateral walls and the top wall of the box of the truck.

 24   Q       How long did it take you to move those packages on that

 25   date?


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                                  Official Court Reporter
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                           Unda Cusin - cross - Purpura                   3316


  1   A     About four hours, three to four hours approximately.

  2   Q     And after they were field tested and weighed at the

  3   anti-narcotics headquarters, where were they taken?

  4   A     They were -- an entry was made as proof and they were

  5   taken to the anti-narcotics -- to the warehouses of the

  6   anti-narcotics unit under the chain of command.

  7                MR. NARDOZZI:   I don't have any further questions.

  8                THE COURT:   All right.    Any cross?

  9                MR. PURPURA:    Just a few if I may, Your Honor.

 10                THE INTERPRETER:    Interpreter's correction.      On the

 11   chain of custody.

 12                THE COURT:   Do you have a microphone?

 13                MR. PURPURA:    I'll get one.

 14                THE COURT:   I just know you like to walk around.

 15                MR. PURPURA:    I'll be really quick.

 16   CROSS-EXAMINATION

 17   BY MR. PURPURA:

 18   Q     Good afternoon, Mr. Unda Cusin.

 19   A     Good afternoon.

 20   Q     First time in a United States court?

 21   A     Yes.

 22   Q     Certainly the first time you've ever testified before a

 23   jury, correct?

 24   A     Here, yes.

 25   Q     Well, first, welcome to the United States.


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                           Unda Cusin - cross - Purpura                   3317


  1   A     Thank you.

  2   Q     Now I have to ask you, the canine dog was Dios, correct?

  3   A     Zeus, yes.

  4   Q     I'm sorry, maybe I misunderstood.

  5                THE COURT:   Well, you're saying "Dios," I think the

  6   witness is saying "Zeus."

  7                MR. PURPURA:   Zeus.

  8   Q     Is it Zeus or Dios.     There's a big difference, God is --

  9   they're both God.

 10                THE COURT:   Actually it's not that big of a

 11   difference.

 12                MR. PURPURA:   You're right.

 13                THE WITNESS:   Zeus, Zeus.

 14   BY MR. PURPURA:

 15   Q     Thank you.    We'll move on from that then.

 16                Now the cocaine -- excuse me.      Putting up what's

 17   already in evidence Government Exhibit 504.          All right.

 18   Ecuador is contiguous to Colombia, correct?

 19   A     Correct.

 20   Q     Ecuador, like Colombia, is a coca-producing country,

 21   correct?

 22   A     That could be.

 23   Q     You are an Ecuadorian narcotics police officer, correct?

 24   A     Yes.

 25   Q     And you know that in your country there are coca fields


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                             Unda Cusin - cross - Purpura                 3318


  1   and cocaine is produced?

  2   A       Yes.

  3   Q       And so as part of your interdiction -- strike that.        This

  4   is not the first cocaine interdiction you were involved with,

  5   is it, sir, on October 3rd, 2009?

  6   A       October 1st.

  7   Q       Is this the first time in October of 2009, this

  8   particular seizure, is this the only cocaine seizure you've

  9   ever been involved in?

 10   A       There were a few.

 11   Q       Okay, I'm sure.    And that's part of your job, that's part

 12   of your job as an narcotics officer to interdict or seize

 13   cocaine coming from Ecuador, correct?

 14   A       Correct.

 15   Q       On these particular kilos which were seized in this

 16   October of 2009 seizure, were there any impressions or stamps

 17   on these kilos?

 18   A       I don't recall that -- well, there were some but I don't

 19   remember that well the um...

 20   Q       As part of an Ecuadorian narcotics police officer, do

 21   you -- would you keep a record if there was either an

 22   impression, meaning like a pressed in stamp on the kilo or

 23   some sort of writing on the kilo such as 888, 666, something

 24   else?

 25   A       Some of them had some, but I don't remember specifically


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                          Quisilema - direct - Nardozzi                    3319


  1   the marks, I don't remember.

  2   Q     Showing you Exhibit 209-3, this group here, they don't

  3   look particularly happy in this photograph, do they?            That was

  4   kind of rhetorical you don't have to answer it.

  5                Which one of these guys stood up and said they were

  6   his drugs.

  7   A     None of them.

  8   Q     And like them, you don't know who purchased those drugs

  9   or those kilos, do you?

 10   A     No.

 11   Q     And you don't know who the recipient of those drugs were

 12   going to be just like them, do you, sir?

 13   A     No.

 14                MR. PURPURA:    Thank you very much.        I have no

 15   further questions.

 16                THE COURT:   Any redirect?

 17                MR. NARDOZZI:   No, Your Honor.

 18                THE COURT:   You may step down.     Thank you very much.

 19                (Witness excused.)

 20                THE COURT:   The government may call its next

 21   witness.

 22                MR. NARDOZZI:   Thank you, Your Honor, the

 23   government's next witness is Fernanda Patricia Jaya Quisilema.

 24                THE COURT:   How we doing on the government's next

 25   witness?


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                                Official Court Reporter
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                          Quisilema - direct - Nardozzi                   3320


  1               MR. NARDOZZI:    I'm sorry, it will take them just one

  2   more moment.    I apologize for the delay.

  3               THE COURT:    Okay.

  4               (Witness sworn.)

  5   F E R N A N D A     P A T R I C I A     J A Y A    Q U I S I L E M A,

  6   called as a witness, having been first duly sworn/affirmed,

  7   was examined and testified as follows:

  8               THE WITNESS:    Yes, I swear.

  9               THE COURTROOM DEPUTY:      Please state and spell your

 10   name for the record.

 11               THE WITNESS:    Fernanda Patricia Jaya Quisilema.

 12   Fernanda is F-E-R-N-A-N-D-A.       Patricia P-A-T-R-I-C-I-A.      Jaya

 13   is J-A-Y-A.    Quisilema is Q-U-I-S-I-L-E-M-A.

 14               THE COURT:    All right, you may inquire.

 15               MR. NARDOZZI:    Thank you, Your Honor.

 16   DIRECT EXAMINATION

 17   BY MR. NARDOZZI:

 18   Q     Good afternoon, ma'am, how are you today?

 19   A     Fine, thank you.

 20   Q     Ma'am, can you tell us where you're currently employed?

 21   A     In the General Prosecutor's Office of the country of

 22   Ecuador.

 23   Q     What is your job title?

 24   A     I am secretary or assistant to the prosecutor.

 25   Q     And what are your job duties in that role?


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                          Quisilema - direct - Nardozzi                   3321


  1   A     To go with the prosecutor to any errands or anythings

  2   that needs to be done related to the investigations.           To

  3   create the minutes for the actions of the prosecutor, and

  4   coordinate actions with police for investigations.

  5   Q     How long have you been with the General Prosecutor's

  6   Office in Ecuador?

  7   A     Approximately 12 years.

  8   Q     What is your current assignment there?

  9   A     I am assigned to the department of domestic gender

 10   violence.

 11   Q     How long have you been in that assignment?

 12   A     Seven years.

 13   Q     And prior to that assignment, what other unit were you

 14   assigned to?

 15   A     To the anti-narcotics and organized crime unit.

 16   Q     What city in Ecuador is this located in?

 17   A     In Quito, which is the capital of Ecuador.

 18   Q     So that would mean in October of 2009 you were assigned

 19   to the anti-narcotics unit; is that correct?

 20   A     Correct.

 21   Q     What happened in October of 2009 that brings you to

 22   testify today?

 23   A     On the morning of the third of October I was on duty

 24   together with the prosecutor, Jose Miguel Jimenez.          They told

 25   us -- they notified us from the prosecutor's office in


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                          Quisilema - direct - Nardozzi                   3322


  1   Sucumbios, that they were going to send us some search orders

  2   that were going to be sent -- carried out in the city of

  3   Quito.

  4   Q     I'm going to show you what's already in evidence as

  5   Government Exhibit 506-24.

  6                Can you show us where Quito is on this map?

  7   A     Here.(indicating)

  8   Q     Can you show us where the prosecutor's office in

  9   Sucumbios is on the map.

 10   A     (Indicating)

 11   Q     About how far away is Sucumbios from Quito?

 12   A     Approximately eight hours over land.

 13   Q     Did you know why they had acquired a search warrant for

 14   something in Quito despite the fact that they're based in

 15   Sucumbios?

 16   A     Because the previous day in Sucumbios there had been an

 17   arrest and information had been provided about a place where

 18   drugs were being collected in Quito.

 19   Q     Do you know who provided that information?

 20   A     Captain Telmo Castro.      He was military in Ecuador.

 21   Q     As a result of the search warrant that you received from

 22   the prosecutors in Sucumbios, what did you do next?

 23   A     In the afternoon the police was doing all of the tasks

 24   that were required to get organized and get ready for when

 25   they arrived from Sucumbios.       And at 5 p.m. we went to the


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                          Quisilema - direct - Nardozzi                   3323


  1   location of a residence where the address was B96846 Elosarupo

  2   in Quito, in the city of Quito.

  3   Q     Was this the location that was listed on the search

  4   warrant?

  5   A     Yes, that was the address of the property.

  6   Q     What happened when you arrived at that location?

  7   A     First of all, the police went in to make sure that there

  8   was no danger for myself or the prosecutor, and then we

  9   entered the property.

 10   Q     First, our system here in the United States is different,

 11   but is it common for a person who works for the prosecutor's

 12   office to go and execute a search warrant in Ecuador?

 13   A     The police cannot enter anywhere to do a raid without the

 14   presence of the prosecutor and his assistant.

 15   Q     And his assistant being you, correct?

 16   A     Yes.

 17   Q     I'm going to show you what's marked as Government

 18   Exhibit 209-5 and I'd ask to move it into evidence without

 19   objection.

 20                MR. PURPURA:   No objection.

 21                THE COURT:   Received.

 22                (Government's Exhibit 209-5 was received in

 23   evidence.)

 24                (Exhibit published.)

 25   BY MR. NARDOZZI:


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                                Official Court Reporter
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                          Quisilema - direct - Nardozzi                   3324


  1   Q       Can you tell the ladies and gentlemen of the jury what

  2   we're looking at here in Government Exhibit 209-5?

  3   A       It is a photograph of the property that we entered on the

  4   3rd of October, 2009 at 5 p.m.

  5   Q       I'm going to show you what's marked as Government

  6   Exhibit 209-7.     Ask to move this into evidence.

  7                THE COURT:   Received.

  8                (Government's Exhibit 209-7 was received in

  9   evidence.)

 10                GOVT 209-7

 11                (Exhibit published.)

 12   BY MR. NARDOZZI:

 13   Q       Ma'am, can you tell us what we're looking at in this

 14   photograph?

 15   A       It is a photograph of part of the property that we went

 16   into.

 17   Q       And in this area here that I'm circling specifically,

 18   what is that area?

 19   A       It was a type of garage and it provided the entry that we

 20   went through to enter the property.

 21   Q       Showing you what's marked as Government Exhibit 209-8.

 22   Seek to move this into evidence as well, Your Honor.

 23                THE COURT:   Received.

 24                (Government's Exhibit 209-8 was received in

 25   evidence.)


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                          Quisilema - direct - Nardozzi                   3325


  1                (Exhibit published.)

  2   BY MR. NARDOZZI:

  3   Q     What are we looking at here?

  4   A     This is the inside of the garage that we saw in the

  5   previous photograph and this is the area where we entered the

  6   property.

  7   Q     So you testified a moment ago that the police went in to

  8   clear the residence first, correct?

  9   A     Correct.

 10   Q     How long did that search take?

 11   A     It's immediate, it's one minute maximum.

 12   Q     So they came back out and you entered; is that correct?

 13   A     Yes.

 14   Q     What happened when you entered the residence?

 15   A     The first thing we tried to do is to enter the second

 16   floor of the residence.      In the landing, as we were going up

 17   the stairs, the prosecutor and myself we were going up, and a

 18   man came out, he was hiding.       His name is Cristian Gallegos

 19   and he pointed at us with a gun.

 20   Q     What happened next?

 21   A     Because we were together with more policemen, they

 22   immediately subdued him.

 23   Q     Anybody hurt?

 24   A     No, it was immediate.      Like we saw him and they

 25   immediately subdued him.


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                          Quisilema - direct - Nardozzi                   3326


  1   Q     All right.    So after Gallegos was restrained, what did

  2   you do next?

  3   A     So then we went up to the second story of the house.           We

  4   went into a room that had two beds in it and inside the

  5   bedroom there was a bathroom and in the part where the bathtub

  6   was we found 26 black sacks.

  7   Q     I'm going to show you what is marked as Government

  8   Exhibit 209-9, I'd ask to move that into evidence, Your Honor.

  9                THE COURT:   That's received.

 10                (Government's Exhibit 209-9 was received in

 11   evidence.)

 12                (Exhibit published.)

 13   BY MR. NARDOZZI:

 14   Q     Do you recognize this?

 15   A     Yes.

 16   Q     What do we see here?

 17   A     We see the bathroom about which I just explained, that is

 18   the bathroom that was inside the bedroom.

 19   Q     Showing you what's marked as Government Exhibit 209-10.

 20   I'd ask to move this into evidence as well.

 21                THE COURT:   Received.

 22                (Government's Exhibit 209-10 was received in

 23   evidence.)

 24                (Exhibit published.)

 25   BY MR. NARDOZZI:


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                           Quisilema - direct - Nardozzi                  3327


  1   Q       Do you recognize this?

  2   A       Yes.

  3   Q       What do we see here?

  4   A       This is the bathtub here where we found all the burlap,

  5   the black burlap sacks.

  6   Q       And when you found them, were they stacked exactly like

  7   this or had they been moved in any way?

  8   A       The photograph shows the sacks exactly how we found them

  9   because the crime scene unit takes the photograph exactly as

 10   the evidence is found.

 11   Q       Is that what that little yellow number 1 is doing over

 12   here?

 13   A       The crime scene unit places that there to be able to take

 14   a photograph of the evidence exactly how it was found at the

 15   time.

 16   Q       Showing you what's marked as Government Exhibit 209-11

 17   and ask to move it into evidence.

 18                  THE COURT:   Received.

 19                  (Government's Exhibit 209-11 was received in

 20   evidence.)

 21                  (Exhibit published.)

 22   BY MR. NARDOZZI:

 23   Q       What is this?

 24   A       It's a photograph of the bails once outside of the

 25   bathroom.


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  1   Q      Did you find anything else as you were searching the area

  2   that day?

  3   A      Yes.   In between the two beds there was a suitcase with

  4   money in it, approximately $114,000.         And there was a weapon

  5   under the mattress and several documents.

  6   Q      I'm going to show you what's marked as Government

  7   Exhibit 209-13 and ask to move that into evidence.

  8                 THE COURT:   Received.

  9                 (Government's Exhibit 209-13 was received in

 10   evidence.)

 11                 (Exhibit published.)

 12   BY MR. NARDOZZI:

 13   Q      What are we looking at here?

 14   A      The suitcase with the money that I spoke about before and

 15   the documents.

 16   Q      What kind of currency was in the suitcase?

 17   A      114,000 American dollars, approximately.

 18   Q      And just to be fair, what is the national currency in

 19   Ecuador?

 20   A      American dollars.

 21   Q      You said you also found some documents in the house that

 22   day?

 23   A      Yes.

 24   Q      Did any of those documents indicate in any way who

 25   possessed the house?


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                          Quisilema - direct - Nardozzi                   3329


  1   A       We found a receipt for a deposit to rent the apartment

  2   for $2,000 and the person who had made the deposit was Jaime

  3   Alberto Roll Cifuentes.

  4   Q       Did you find any other documentation in the house that

  5   day?    Did you find any other documentation in the house that

  6   day?

  7   A       Several documentation that once we proceeded with the

  8   investigation we came to realize that the house was being used

  9   as a front for a company that manufactured tents, and the

 10   person -- the people --

 11                MR. PURPURA:    Your Honor, with respect, objection.

 12   I'm --

 13                THE COURT:   Just one word.

 14                MR. PURPURA:    Hearsay.

 15                THE COURT:   Sustained.

 16                MR. NARDOZZI:   I can move on.

 17                THE COURT:   I was expecting you earlier.

 18                MR. PURPURA:    Well, I was just giving him some

 19   leeway.

 20   BY MR. NARDOZZI:

 21   Q       Ma'am, let's talk about the drugs.      I put Government

 22   Exhibit 209-11 on the screen.       These are the black burlap bags

 23   you told us about.

 24                How were the drugs packaged inside the black burlap

 25   bags?


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  1   A     As we can see, they were inside a black sack and inside

  2   the black sack the bricks were placed in order, one on top of

  3   the other, and they were wrapped around by a wide plastic.

  4   There were 20 packages in each bag.        The packages were also --

  5   had been also wrapped in a white -- in a yellow wrap like

  6   Scotch tape, black wrap, then again white wrap, then clear

  7   wrap, and then it was the substance was there.

  8   Q     I'm going to show you what I've marked as Government

  9   Exhibit 209-16 and I'd ask to move that into evidence.

 10                THE COURT:   Received.

 11                (Government's Exhibit 209-16 was received in

 12   evidence.)

 13                (Exhibit published.)

 14   BY MR. NARDOZZI:

 15   Q     Do you see all the different elements that you just

 16   described in this photograph?

 17   A     Yes.

 18   Q     Can you walk through and indicate it for the jury.

 19   A     This is the black sack in which the bricks were found.

 20   And this is the white plastic wrap that kept the bricks

 21   together.

 22   Q     And then below that is?

 23   A     So below that all the bricks were in order.         They had

 24   been packaged in several layers of plastic, as I said before.

 25   Q     And these markings that we see on the bricks here, are


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  1   these markings that were placed on the bricks by you for

  2   inventory purposes, or were they already there?

  3   A     No, those were made to be able to count the bricks.

  4   Q     After the bricks were recovered, what did you do next?

  5   A     So we had brought equipment to conduct field tests.          So

  6   we took samples of some of the bricks.

  7                MR. PURPURA:    Your Honor, we'll stipulate that it

  8   was cocaine.

  9                THE COURT:   Okay.   It is stipulated between the

 10   parties that these bricks, ladies and gentlemen, were in fact

 11   cocaine.

 12   BY MR. NARDOZZI:

 13   Q     After the bricks of cocaine were recovered at that

 14   location, where were they taken?

 15   A     To anti-narcotics headquarters in Pichuncha.

 16   Q     Did you accompany the drugs there?

 17   A     Yes, we went in a convoy.

 18   Q     And how many total bricks were recovered that day?

 19   A     530.

 20   Q     At anti-narcotics headquarters were those bricks weighed?

 21   A     Yes, they were both weighed and tested.

 22   Q     If you recall, what was the total weight of the bricks

 23   recovered that day, October 3rd, 2009?

 24   A     593 kilos of cocaine.

 25                MR. NARDOZZI:   Your Honor, I see the time, if the


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  1   Court is inclined to take a break this afternoon this might be

  2   a good spot.

  3               THE COURT:    Do you have a lot more?

  4               MR. NARDOZZI:    I do, Your Honor.      There are couple

  5   of more days of drug seizures.

  6               THE COURT:    Okay.   Then we'll take a break, ladies

  7   and gentlemen, please don't talk about the case.          We'll come

  8   back here at a quarter to four.

  9               (Jury exits courtroom.)

 10               THE COURT:    Recess 15 minutes.

 11               (Recess.)

 12               (Continued on the next page.)

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  1                (In open court; 3:54 p.m.)

  2                (Defendant enters the courtroom at 3:54 p.m.)

  3                COURTROOM DEPUTY:    All rise.

  4                THE COURT:   Let's have the jury back, please.

  5                COURTROOM DEPUTY:    Jury entering.

  6                (Jury enters courtroom at 3:54 p.m.)

  7                THE COURT:   All right.    Be seated, please.     Let's

  8    continue with direct.

  9   EXAMINATION

 10   BY MR. NARDOZZI:

 11   (Continuing.)

 12    Q    All right, ma'am.      So you concluded the search on

 13    October 3rd.

 14                Did you have an opportunity to speak to the property

 15    owner that day?

 16    A    Yes.   We did take a statement.

 17    Q    And when you took the statement from the property owner,

 18    did he indicate to you who was renting the residence from him?

 19                MR. PURPURA:    Objection.

 20                THE COURT:   Sustained.

 21    Q    What did he tell you about the inhabitants of the

 22    residence, if anything?

 23                MR. PURPURA:    Objection.

 24                THE COURT:   Sustained.

 25                MR. NARDOZZI:    Can I have a moment, your Honor?


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  1               THE COURT:    Sure.

  2               (A brief pause in the proceedings was held.)

  3   EXAMINATION

  4   BY MR. NARDOZZI:

  5   (Continuing.)

  6    Q    Did the property owner provide you with any documentation

  7    regarding the inhabitants of the residence?

  8    A    Yes, they gave us the original of a lease agreement.

  9               MR. NARDOZZI:    I'm going to put on the screen what's

 10    marked as Government Exhibit 209-41.       I will introduce that in

 11    evidence without objection.

 12               THE COURT:    Okay.   Received 209-41.

 13               (Government's Exhibit 209-41 was received in

 14   evidence as of this date.)

 15    Q    Can you tell us what that is?

 16    A    It is a lease agreement by which Jorge Ramiro Campuzano

 17    Mantilla rents out the property to Jaime Alberto Roll

 18    Cifuentes.   The same property where we had searched.

 19    Q    I'm going to turn to Page 3 of this exhibit.         Page 2,

 20    excuse me.   The signature is at the bottom.        Whose signatures

 21    are those?   The names are listed on the signatures?

 22    A    Jorge Campuzano as the owner of the house.         And Jaime

 23    Alberto Roll Cifuentes as the tenant.

 24    Q    Turning to Page 3 of this document.        What do we see here?

 25    A    Copy of the passport of Jaime Cifuentes.


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  1    Q    This was provided to you with that lease document by the

  2    land owner?

  3    A    Yes.    They gave us the lease agreement along with a copy

  4    of the passport because the document had been notarized,

  5    legalized, in front of landlord and tenant court.

  6    Q    Okay.    Was October 3rd the last time you visited that

  7    house?

  8    A    No.

  9    Q    When did you go back?

 10    A    We went back on October 4th, '09 at 1:00 in the morning.

 11    Q    Why did you go back?

 12    A    The police --

 13                 MR. PURPURA:   Objection.

 14                 THE COURT:   Overruled.

 15                 MR. PURPURA:   The word hearsay, again.      As a result?

 16                 THE COURT:   I'm not hearing hearsay yet.

 17                 MR. PURPURA:   All right.

 18                 THE COURT:   No.   Overruled.

 19    Q    You can continue.

 20    A    So we attended a cal from the police.         We went back to

 21    the residence because, while conducting the inventory, the

 22    police officers had found a wall that the owner did not

 23    recognize as having been built there before.

 24    Q    All right.    When you returned to the house, what did you

 25    observe?


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  1    A    On the ground floor, there was a section like a workshop.

  2    And in a part of the house where a bathroom had been before, a

  3    false wall had been built.

  4    Q    I'm showing you what's marked as

  5    Government Exhibit 209-19 and ask that that be received in

  6    evidence.

  7                 THE COURT:   Received.

  8                 (Government's Exhibit 209-19 was received in

  9   evidence as of this date.)

 10    Q    Can you tell us what we're looking at here?

 11    A    It is an enlarged photograph of the place where the

 12    bathroom was.

 13    Q    Okay.    I'm going to show you what's marked as

 14    Government Exhibit 209-20.

 15                 What do we see here?

 16    A    So the police, once the prosecutor and myself were there,

 17    they began to knock down the wall.        And this is a picture of

 18    that.

 19    Q    Okay.    I'm going to show you now?

 20                 THE COURT:   You wanted this offered?

 21                 MR. NARDOZZI:   I'm sorry, your Honor, I apologize.

 22    Ask that this be moved into evidence.

 23                 (Government's Exhibit 209-20 was received in

 24   evidence as of this date.)

 25    Q    I'm going to show you what's marked as 209-21 and ask to


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  1    move this in evidence as well.

  2                 THE COURT:   Received.

  3                 (Government's Exhibit 209-21 was received in

  4   evidence as of this date.)

  5    Q    What do we see here today?

  6    A    That is the entrance to the bathroom once the wall had

  7    been knocked down completely.

  8    Q    Now, what do we see inside the entrance to the bathroom?

  9    A    Black sacks with the same structure that I had mentioned

 10    before inside the bathroom.       The bathroom was completely full

 11    with this.

 12    Q    Is this the way that the sacks were situated when you

 13    encountered them on October 4th?

 14    A    Yes.    That is the way in which they had been positioned.

 15    Q    How many sacks were there in that area in total?

 16    A    102.

 17    Q    Okay.    And I want to show you what is marked as

 18    Government 209-39 and I ask to move this into evidence.

 19                 THE COURT:   Received.

 20                 (Government's Exhibit 209-39 was received in

 21   evidence as of this date.)

 22    Q    What are we looking at here?

 23    A    We see in detail the sacks in the outside of the

 24    bathroom.     And this is the way in which the bricks had been

 25    packaged.     Just the same way as we had found the previous


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                         Quisilema - Direct/Mr. Nardozzi                 3338


  1    time.

  2    Q    Okay.

  3                 I want to show you what's marked as

  4    Government Exhibit 209-38 and ask to move this in evidence,

  5    your Honor?

  6                 THE COURT:   Received.

  7                 (Government's Exhibit 209-38 was received in

  8   evidence as of this date.)

  9                 MR. NARDOZZI:   You continue to stipulate?

 10                 MR. PURPURA:    No objection.

 11                 MR. NARDOZZI:   This is a continued stipulation that

 12    this is, in fact, cocaine.

 13                 THE COURT:   The jury is required to accept that.

 14    Q    What did you do with the cocaine that was recovered on

 15    October 4th after you took it in the house?

 16    A    It was taken to the antinarcotics headquarters

 17    Pinchincha.

 18    Q    Did you accompany it there?

 19    A    Yes, on a convoy the same way.        Because at that time the

 20    prosecutor's offices were also in the antinarcotics

 21    headquarters.

 22    Q    How many bricks were recovered in total on October 4,

 23    2009?

 24    A    2,027, approximately, bricks.

 25    Q    Were the bricks weighed at the antinarcotics


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  1    headquarters?

  2    A    Yes, they were weighed and tested.

  3    Q    What was the total weight of the bricks recovered on

  4    October 4, 2009?

  5    A    2,322 kilos of cocaine.

  6    Q    Okay.    You didn't go back to the house again, did you?

  7    A    Yes, I did.     I went.

  8    Q    I thought you were going to say that.

  9                 When did you go back.

 10    A    On October 9, 2009.

 11    Q    And tell the ladies and gentlemen of the jury what you

 12    found when you went back to the house on October 9, 2009?

 13    A    So while the police was getting ready to return the

 14    property to its owner, the owner realized that on the second

 15    floor there was an additional wall which he had not built

 16    there.

 17    Q    Okay.    As a result of that realization, what did you do?

 18    A    The police called us and prosecutor Paola Cordova and I

 19    went there.     And in our presence, the wall was knocked down.

 20    And we found in another area that had -- that was to be used

 21    as a bathroom we found again the black sacks.

 22    Q    How many black sacks did you find that day October 9,

 23    2009?

 24    A    202.

 25    Q    After the 202 bags were recovered, where were they taken?


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  1    A      To the antinarcotics headquarters in Pinchincha.

  2    Q      Did you accompany them there?

  3    A      Yes.   Yes we went together.

  4                  MR. NARDOZZI:   Your Honor, there is a continued

  5    stipulation that the items inside the bags are indeed cocaine.

  6                  THE COURT:   The jury is accordingly instructed.

  7    Q      Were the bags --

  8                  First of all, how many bricks are there in total

  9    when you he took them back to the antinarcotics headquarters?

 10    A      4,044 blocks.

 11    Q      And were the bricks weighed at the antinarcotics

 12    headquarters that day?

 13    A      Yes, they were weighed and tested.

 14    Q      What was the total weight of the bricks recovered that

 15    day?

 16    A      Approximately 4,500 kilos of cocaine.

 17    Q      I'm going to show you what's marked as

 18    Government Exhibit 209-34 and ask to move this in evidence.

 19                  THE COURT:   Received.

 20                  (Government's Exhibit 209-34 was received in

 21   evidence as of this date.)

 22    Q      What do we see here?

 23    A      We see a complete view of the total amount of bricks that

 24    we found during the three visits to the house.

 25    Q      In total, what is the weight of the three separate


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                          Quisilema - Cross/Mr. Purpura                  3341


  1    seizures:     October 3rd, October 4th, and October 9th from the

  2    house in Quito that you have been telling us about?

  3    A    Approximately seven and a half tons of cocaine.

  4    Q    And in terms of your career working in antinarcotics,

  5    where does this seizure rate against other seizures you have

  6    been a part of?

  7    A    It is the largest seizure we've done.

  8    Q    Okay.

  9                 MR. NARDOZZI:   I don't have any further questions.

 10                 THE COURT:   All right.   Any cross?

 11   CROSS-EXAMINATION

 12   BY MR. PURPURA:

 13    Q    Good afternoon, ma'am.

 14    A    Good afternoon.

 15    Q    Just quickly, Government Exhibit 209-5, which is already

 16    in evidence, this apparently is the house that keeps on

 17    giving, correct?

 18                 In other words, you found a lot of cocaine there on

 19    three different times?

 20    A    Yes, it's the house where we found the cocaine.

 21    Q    And 209-41, this is the contract for the rental of that

 22    house; correct?

 23    A    Yes.

 24    Q    This is not a contract for the rental of a warehouse;

 25    correct?


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                          Quisilema - Cross/Mr. Purpura                  3342


  1    A    No, it was a residence but it was going to be used here

  2    for the manufacture of boxes for trucks, dry goods, and

  3    similar items.

  4    Q    And at the time when the house was entered, it appeared

  5    it was still in use as a residence; is that correct?

  6    A    As a workshop and residence.

  7    Q    Thank you.

  8                And showing you Government Exhibit 504, which is a

  9    corrected map.    Apparently, there was a misspelling of the

 10    Dominican Republic which has been corrected.

 11                Ecuador, as we heard before, is contiguous and below

 12    Colombia; correct?

 13    A    Correct.

 14    Q    And you know from your years of service that Ecuador is a

 15    cocaine-producing country much like Colombia; correct?

 16    A    No, Ecuador is a place that cocaine goes through.

 17    Q    So let me make sure I understand what you're telling me.

 18                You have no knowledge in your position that Ecuador

 19    is a cocoa-producing country?

 20    A    We have found some labs in Ecuador, but most of the drugs

 21    that are in Ecuador come from Colombia.

 22    Q    And -- very good.     How do you know the drugs come from

 23    Colombia?

 24    A    Because we don't have fields of cocoa.

 25    Q    You know, please, you know that in Ecuador there are


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  1    fields of cocoa, correct, ma'am?

  2               MR. NARDOZZI:    Let the witness answer.

  3    A    Yes, but they're all at the border and it's a small

  4    amount.    Ecuador is a thruway for cocaine.

  5    Q    I understand what you're saying and I guess the bottom

  6    line is you do agree because you said Sí that Ecuador does

  7    produce cocoa, correct?     Sí or no?    Sí or no?

  8               MR. NARDOZZI:    Your Honor, it's asked and answered.

  9               THE COURT:    No, I'll let her answer again.

 10               MR. PURPURA:    It is just one word.

 11    A    No.

 12    Q    No.   Okay.   And this cocaine in 209-34, were there any

 13    tests conducted on this cocaine to find out the origin of

 14    where the cocoa came from?

 15    A    According to our investigations that were carried out,

 16    and the way that it was found at the border and information

 17    that we received at the place to find the warehouses, it was

 18    found out that it came from Colombia.

 19    Q    Were there any tests done on the cocaine to make a

 20    determination where the cocaine came from?

 21    A    You can't test cocaine to find out what place to comes

 22    from.

 23    Q    That you believe; correct?

 24    A    We did not do a test.      We did an investigation of the

 25    path that the cocaine followed.


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                           Quisilema - Cross/Mr. Purpura                  3344


  1    Q    Well, let me ask you about that investigation.            I'm sorry

  2    if I'm prolonging this.

  3                 Did you open up those packages you see there and

  4    look for any markings as part of your investigation?

  5    A    Yes.

  6    Q    So tell us today what markings did you find on the

  7    cocaine?

  8    A    They had several brands.

  9    Q    Okay.    What are they?

 10    A    There was a brand that was like a Chevrolet-looking

 11    brand.   Letters.

 12    Q    What letters?

 13    A    BMW and other letters that I can't remember because a lot

 14    of time has gone by.     Other types of symbols.       Lines like this

 15    (indicating).

 16    Q    Slanted lines?

 17    A    Yes.

 18    Q    I assume there is some report about this; correct?

 19    A    Yes.    It exists because at the moment that the cocaine

 20    was about to be burned, we had to to open all the packages so

 21    it could be burned.

 22    Q    And, as part of the investigation, you would like to see

 23    what the markings are because they may or they may not be

 24    important; correct?

 25    A    Yes, we did the burn practically a month after the


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  1    seizure.    There were three months' of investigation.        We had

  2    enough time to take a look at the markings.

  3    Q    And that's, I guess, what I really wanted to know.          You

  4    mentioned a couple of markings.

  5                What other markings were there as part of that

  6    three-month investigation on all that cocaine?

  7    A    I don't remember.     They were symbols.     Every one of those

  8    bricks had a brand on it and there were so many, so many

  9    different ones, it's impossible to remember all the ones that

 10    were on them.

 11    Q    I agree.    2009 was quite a few years ago; right?

 12    A    Yes.

 13    Q    And that's why you have written reports; correct?

 14    A    Yes.

 15    Q    And that's part of the three-month investigation, and

 16    that's why you took your time and you wrote down what the

 17    brands were, correct?

 18                Is that a yes or no, ma'am?

 19    A    Can you repeat the question, please.

 20    Q    Because brands were important, you wrote down them;

 21    correct?

 22    A    That's not my job.

 23    Q    It was someone's job tosay, I'm not saying you did it, it

 24    was someone's job to do it; right?

 25                That's a yes or no.


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  1    A    There's a police report.

  2    Q    Okay.

  3                 Did you give it to the Government with that on

  4    there, with the markings?        This government.

  5                 Yes or no, ma'am.

  6    A    Yes.    May I speak.

  7    Q    Please go ahead.

  8    A    The documentation is provided through international

  9    affairs, so I don't have the information to tell you.            It's

 10    been a long time.

 11    Q    Fair enough.

 12                 MR. PURPURA:    Thank you, ma'am, no further

 13    questions.     Enjoy your stay.

 14                 THE COURT:   Any redirect?

 15                 MR. NARDOZZI:   Nothing on redirect, your Honor.

 16                 THE COURT:   You may step down.     Thank you very much.

 17                 (Witness leaves the witness stand.)

 18                 THE COURT:   By the time we reset the courtroom,

 19    ladies and gentlemen, it will be very close to 4:30, so I'm

 20    going to let you go now.

 21                 Please remember stay away from media coverage.        Do

 22    not talk about this case to anyone.        Do not do any research on

 23    the Internet or otherwise about this case.          Don't post

 24    anything on social media.        Put it out of your mind until

 25    tomorrow morning at 9:30.        We'll see you then.


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  1               (Jury exits courtroom at 4:17 p.m.)

  2               THE COURT:    All right.    Be seated.

  3               I'm not sure why, but I got a couple of requests

  4    from Mr. Lichtman for production of documents.         He asked me to

  5    order the Government to produce some documents.

  6               What does the Government have to say in response?

  7               MR. FELS:    Your Honor, we talked about this during

  8    the break.   We had actually turned over two spreadsheets back

  9    on October 5th of 2018.     We resent them just so the defense

 10    has it at its disposal -- and I don't know why this is getting

 11    so much feedback -- I apologize, your Honor.

 12               The long and short of it are there are financial

 13    documents.   They are not his documents, they were produced by

 14    someone else.    If the defense wants to, we can produce those.

 15    I don't know what Mr. Lichtman's perspective is on this, but

 16    we produced the two documents a month ago or, I guess, two

 17    months ago that relate to this defendant's finances that this

 18    defendant had.

 19               THE COURT:    Look, what about the businesses that he

 20    terms legitimate that he says he was the effective owner if

 21    not the title the owner and he says there were financial

 22    records for those businesses.

 23               MR. FELS:    There are financial records.      In other

 24    words, they're not his documents, they're not his §3500

 25    material, but we can produce those.


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  1               The larger point the defense was making that we

  2    spoke about during the break is did the Government go through

  3    these documents, all the losses as he claimed and they --

  4               THE COURT:    I don't know why you have to do that,

  5    but they have to be produced.       And the only question that I

  6    have is, do they have to be produced in connection with this

  7    witness because, as I said, he's not necessarily the record

  8    owner but he is the beneficial owner of apparently one or more

  9    businesses.

 10               MR. FELS:    We have no problem turning them over.

 11               THE COURT:    Okay.   Mr. Lichtman.

 12               MR. LICHTMAN:     Obviously, what I don't want to do is

 13    cause a delay any more with this witness.         The Government did

 14    turn over on October 5th two spreadsheets of two years of

 15    financials for some of these so-called "legitimate

 16    businesses."    But they're a fraction, a tiny fraction of what

 17    he claims are the purported losses.

 18               I don't want to make a delay here and cause them to

 19    have to go through every single document that they have on

 20    this.   They turned over, again, a fraction so I'm willing to

 21    let it go at this point and I just don't see the -- there's a

 22    diminishing marginal return at this point with too much

 23    required that's going to be required to make them go through

 24    this which I don't think is going to happen by tomorrow

 25    morning anyway.     So I'd rather just move on, frankly.


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  1               THE COURT:    Okay.       That's fine.   I don't have a

  2    request from the defendant for any relief so there is nothing

  3    for me to dispose of okay.

  4               Anything else we need to talk about?

  5               MS. PARLOVECCHIO:         Not from the Government, your

  6    Honor.

  7               THE COURT:    See you tomorrow morning at 9:30.

  8               Mr. Lichtman, you will finish tomorrow early, right?

  9    You u you'd be done by lunch today and you told us another

 10    half an hour.

 11               MR. LICHTMAN:    I'm just about done.       But, again,

 12    it's not completely up to me.

 13               THE COURT:    You're right, and I'm giving you leeway

 14    because the witness is not answering yes-or-no-questions, yes

 15    or no, so I understand that.          On the other hand, a lot of your

 16    questions are repetitive.        Many of them, although there's been

 17    no objection are argumentative.           Better save it to make the

 18    point to the jury than through the witness.           So please don't

 19    go over areas we've already been through.

 20               MR. LICHTMAN:    I'm at the very end.

 21               THE COURT:    See you tomorrow morning.

 22               (WHEREUPON, this matter was adjourned to December

 23   18, 2018, at 9:30 a.m.)

 24

 25                                     *    *   *


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  1                                I N D E X

  2

  3     J O R G E    M I L T O N    C I F U E N T E S              3179

  4     V I L L A

  5     CROSS-EXAMINATION                                          3179

  6     BY MR. LICHTMAN

  7

  8     P A B L O    E N R I Q U E    U N D A    C U S I N         3302

  9     DIRECT EXAMINATION                                         3303

 10     BY MR. NARDOZZI

 11     CROSS-EXAMINATION                                          3316

 12     BY MR. PURPURA

 13

 14     F E R N A N D A     P A T R I C I A     J A Y A            3320

 15     Q U I S I L E M A

 16     DIRECT EXAMINATION                                         3320

 17     BY MR. NARDOZZI

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 19     BY MR. PURPURA

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  5     Government's Exhibit 209-1                                 3308

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  7     Government's Exhibit 209-42                                3315

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 19     Government's Exhibit 209-21                                3337

 20     Government's Exhibit 209-39                                3337

 21     Government's Exhibit 209-38                                3338

 22     Government's Exhibit 209-34                                3340

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  1                                CERTIFICATION

  2

  3   I certify that the foregoing is a correct transcript from the
      record of proceedings in the above-entitled matter.
  4

  5       /s/ Denise Parisi                          December 17, 2018
      _________________________________               ________________
  6         DENISE PARISI                                   DATE

  7
          /s/ Georgette Betts                        December 17, 2018
  8   _________________________________               ________________
            GEORGETTE BETTS                                 DATE
  9

 10       /s/ David Roy                              December 17, 2018
      _________________________________               ________________
 11         DAVID ROY                                       DATE

 12
          /s/ Anthony Frisolone                      December 17, 2018
 13   _________________________________               ________________
            ANTHONY FRISOLONE                               DATE
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                                  Official Court Reporter
